Gov. Ex. 83
                         PARK DIETZ & ASSOCIATES, INC.
                                             Forensic Experts


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   Fax: 949-723-2212
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     J une 21, 2021

    Corey J. Smith
    Senior Litigation Counsel
    U.S. Department of Justice, Tax Division
    150 M Street NE, Rm 2.208
    Washington, DC 20002

     Re: United States v. Robert T. Brockman

     Dear Mr. Smith:

    At your request, I conducted a forensic psychiatric evaluation of Mr. Robert
    Brockman for the purpose of providing an expert opinion as to his competence to
    stand trial on a 39-count indictment for violations of these statutes:

             18   U.S.C. § 371 - Conspiracy
             26   U.S.C. § 7201 - Tax Evasion
             31   U.S.C. §§ 5314 & 5322(b) -FBAR Violations
             18   U.S.C. § 1343 - Wire Fraud Affecting a Financial Institution;
             18   U.S.C. § 1956(a)(1)(B)(i) - Concealment Money Laundering;
             18   U.S.C. § 1956(a)(1)(A)(ii) - Tax Evasion Money Laundering;
             18   U.S.C. § 1956(a)(2)(B)(i) - International Concealment Money Laundering;
             18   U.S.C. § 1512(b)(2)(B) - Evidence Tampering;
             18   U.S.C. § 1512(c)(1) - Destruction of Evidence

    M y evaluation of Mr. Brockman was one component of a multidisciplinary evaluation
    that also included evaluations by Ryan Darby, M.D., and Robert Dennery, Psy.D.
    Dr. Darby, Dr. Denney, and I conferred with one another by telephone on several
    occasions to plan logistics; to share ideas on additional investigation, testing,
    i nterviews, or studies that could clarify the defendant's diagnoses and competence;
    and to compare observations.

    SOURCES OF INFORMATION

     In conducting my evaluation, I reviewed the following sources of information:


                                                                                   GOVERNMENT
                                                                                     EXHIBIT

                                                                                  4:21-CR-009-GCH
                                                                                        No. 83



                                                                                        PDA-0000025

Ex. 83, p. 1 of 45
     Medical Records re. Robert Brockman (various dates; identified by PDF page
     n umbers)

       •   Baylor College of Medicine
       •   Houston Methodist
       .   Houston Methodist, 2116 production
       •   Fondren Orthopedic
       •   UT Physicians
       •   Komal Copra Stoerr, M.D.
       •   Medical records and personal writings provided by Mr. Brockman

     Dated Records (chronologically, by date of creation)

       •   Video of Mr. Brockman speaking to Reynolds and Reynolds employees in
           a pproximately September 2017 [UCSH 0207346]
       •   Video of Mr. Brockman speaking at the 2018 Reynolds and Reynolds
           Company birthday party in approximately November 2018 [UCSH 0210542]
       •   Transcript and video of the deposition of Robert Brockman In re. Dealer
           Management Systems Antitrust Litigation, 1/16/2019
       •   Transcript and video of the deposition of Robert Brockman In re. Dealer
           Management Systems Antitrust Litigation, 1/17/2019
       •   Report of Michele York, Ph.D., re. neuropsychological evaluation of Mr.
           Brockman on 3/1/19
       •   Transcript Mr. Brockman's testimony at Federal Trade Commission
           Investigational Hearing in the Matter of CDK Global and Reynolds and
           Reynolds, 9/18/19
       .   Transcript Mr. Brockman's testimony at Federal Trade Commission
           Investigational Hearing in the Matter of CDK Global and Reynolds and
           Reynolds, 9/19/19
       •   Video of Mr. Brockman speaking at the 2019 Reynolds & Reynolds company
           birthday party in approximately November 2019 [UCSH 0212042]
       •   Report of Michele York, Ph.D., re. neuropsychological evaluation of Mr.
           Brockman on 12/3/19
       •   Indictment in US v. Robert Brockman, Case 3:20-cr-00371-WHA, filed
           10/01/20 [Document 1]
       •   Letter from Kathryn Keneally, et al., to Corey J. Smith, 4/9/20
       •   Report of Michele York, Ph.D., re. neuropsychological evaluation of Mr.
           Brockman on 10/7/20
       •   Declaration of James L. Pool, M.D., in Support of Robert T. Brockman's
           Motion to Transfer Proceedings, 11/25/20 [Document 49]
       •   Declaration of Kathryn Keneally in Support of Robert T. Brockman's Motion to
           Dismiss in Part for Lack of Venue and Transfer to the Southern District of
           Texas, 11/30/20 [Document 0049]
       •   Defendant Robert T. Brockman's Notice of Motion and Motion for a Hearing to
           Determine Whether Mr. Brockman is Competent to Assist in His Defense,
           1/12/21, and Exhibits [Document 46]
       •   United States' Response to Defendant's Motion for a Competency Hearing,
           1/12/21, and Exhibits [Document 69]




                                                                                  PDA-0000026

Ex. 83, p. 2 of 45
       •   Defendant Robert T. Brockman's Reply in Support of Motion for a Hearing to
           Determine Whether Mr. Brockman is Competent to Assist in His Defense,
           1/12/21 [Document 74]
       •   United States' Motion for Discovery Order Under Rule 17(C) and 45 CFR
           164.512(e)(1)(i), 1/26/21 [Document 26]
       •   Transcript of deposition of Kelly Hall in Cox Automotive, Inc., et al., v. the
           Reynolds and Reynolds Co., 3/10/21 [redacted]
       •   PET Brain Metabolic Evaluation, Houston Methodist Hospital, 3/12/21
       •   Transcript of deposition of Robert Schaefer in Cox Automotive, Inc., et al., v.
           the Reynolds and Reynolds Co., 3/18/21 [redacted]
       •   Transcript of deposition of Norman Thomas Barras, Jr., in Cox Automotive,
           Inc., et al., v. the Reynolds and Reynolds Co., 4/15/21 [redacted]
       •   Polysomnography Report, Memorial Hermann Hospital Texas Medical Center,
           4/29/21
       •   Transcript and video of Dr. Darby's interview and examination of Mr.
           Brockman, 5/5/21
       •   Dr. Darby's notes of his interview of Mrs. Brockman, 5/5/21
       •   Transcript and video of Dr. Dietz and Dr. Denney's interview and examination
           of Mr. Brockman, 5/18/21
       •   Transcript and video of Dr. Dietz and Dr. Denney's interview and examination
           of Mr. Brockman, 5/20/21
       •   Dr. Denney's raw test data, 5/19/20 and 5/20/21
       •   Dr. Denney's Interview of Kathy Keneally, 6/14/21
       •   Dr. Denney's Interview of Peter Romatowski, 6/15/21
       •   E-mail from Kathy Keneally to Corey Smith, et al., re. "US v. Brockman:
           u pdate on medical issues," 6/17/21

    Dr. Denney and I jointly interviewed the defendant on 5/18/21 and 5/20/21. On
    5/18/21, I conducted most of the interview. On 5/20/21, Dr. Denney conducted a
    semi-structured interview regarding trial competence, after which I took the lead in
    conducting additional interviewing. Complete transcripts of these interviews are
    attached as Appendices 1 and 2, and the videorecording has already been provided
    to the parties by the videographer hired by Jones Day.

     LIMITATIONS OF EVALUATION

    Evaluations of competence to stand trial for criminal charges are based on both
    direct examinations of defendants, where possible, and on other sources of
    i nformation, including but not limited to documents, electronic recordings, physical
    evidence, and interviews of witnesses.

    In this instance, several potentially significant sources of information proved
    u navailable as of the Court-ordered deadline for this report. These include:

       • Several witnesses declined to be interviewed or re-interviewed.
       • Properties controlled by the defendant were not searched for documents or
         electronic devices.




                                                                                      PDA-0000027

Ex. 83, p. 3 of 45
         • Medical records for which subpoenas were issued had not yet been provided
           to the United States.
         • An initial sleep study was inadequate, and a repeat study has not yet been
           completed.
         • Recent medical records for hospitalizations and treatment in 2021 have not
           all been received.

    If additional information is received before the competency hearing on this matter,
    I will take it into account and revise my opinions if indicated.

    CONTEXT OF EVALUATION

    On 10/1/20, Mr. Brockman was charged in a 39-count federal grand jury indictment
    alleging the violations listed above, with additional forfeiture allegations under 18
    U.S.C. §§ 982(a)(1), 982(a)(2)(A) & 28 U.S.C. § 2461(c).

    Attorneys for Mr. Brockman have asserted that he is incompetent to stand trial
    because of dementia, and the Court ordered an examination by experts retained by
    the United States, including the undersigned.

    M r. Brockman is an 80-year-old man with a 53-year marriage that produced one
    adult son and a one-year-old grandson. Mr. Brockman had an enormously
    successful business career (detailed in the interviews of 5/18/21 and 5/20/21) as
    Chairman and CEO of Reynolds and Reynolds, from which he retired effective
    1/1/21. His personal and psychosocial histories are detailed in the interviews of
    5/18/21 and 5/20/21, which was videotaped and transcribed; that information is
    not repeated here.

    M r. Brockman's medical history is significant for bladder cancer (treated surgically
    i n 2006); repeated urinary tract infections (two of which resulted in hospitalization
    for sepsis in 2021); malignant melanoma and basal cell skin cancer (treated by
    excision); Parkinson's disease; two episodes of atrial fibrillation (in October 2015
    and June 20161; successfully managed with medication and lifestyle changes);
    hypothyroidism (managed with medication); hyperlipidemia (managed with
    medication); coronary artery calcification; pseudoexfoliation glaucoma (treated
    surgically); depression (managed with medication); prostatitis; ocular migraine;
    osteopenia; gall stones; idiopathic peripheral neuropathy; and other lesser illnesses
    and injuries. He has not been averse to laboratory tests and biomedical studies
    regarding his physical health and has been carefully, perhaps exhaustively,
    screened for disease many times.

    Most relevant to the issue before the Court is the issue of Mr. Brockman's present
    cognitive capacity, about which a dispute has arisen, and this issue and his
    competence to stand trial are the focus of the reports by Dr. Denney and Dr. Darby
    as well as this report. A related issue is whether he has a REM sleep disorder, the

     1   Medical records and personal writings provided by Mr. Brockman from his home, pp.
         1413-1414.




                                                                                         PDA-0000028

Ex. 83, p. 4 of 45
    presence of which, if true, would be consistent with but not dispositive of the
    q uestion of whether he has dementia with Lewy bodies.

    TIMELINE OF COGNITIVE FUNCTION

    A detailed analysis of cognitive functioning requires documentation, observation, or
    measurement at various points in time because cognitive functioning varies with
    age, time-limited alterations in mental state (e.g., intoxication, sleep deprivation,
    the effects of medications, or delirium), and disease or injury of the brain. For that
    reason, I provide here a detailed timeline based on the various sources of
    i nformation available as of this writing, and I insert clearly marked comments to
    disclose my own impressions and interpretations of particular entries in the
    chronology.

    N ote that many of the entries in this chronological accounting are drawn from
    writings by Mr. Brockman, the content and dating of which have not been
    corroborated by any source. The existence of these writings was discovered only
    because of information Mr. Brockman volunteered in Dr. Darby's 5/15/21 interview.
    In responding to Dr. Darby's question about the onset of his cognitive issues, Mr.
    Brockman introduced the topic of a former internist that led to the revelation that
    M r. Brockman had possession of previously undisclosed medical records, in this
    exchange:

           RD: Well, tell me a little bit about the cognitive issues that you've
               been having. So when did —when did those first start?

           RB: I think they actually began, oh, probably five, six, seven years
               ago.

           RD: Okay.

           RB: And —and the reason why that I picked that out is because I—I
               had a very excellent internal medicine doctor for many, many,
               many years.

           RD: Who was that?

           RB: His name is Bill Obenour. He's retired from practice now. And he
               was a —a classical single practitioner, you know, one man office
               with a staff. And medical records all written by hand. And I
               think probably the fact that he was gonna have to convert all that
               stuff at some point is one of the reasons why it played out. But
               any rate, I knew that I had, you know, big files in his office and
               so I asked him if I could have them because I have—wouldn't
               know where they would go initially or where they would continue
               to reside.

           RD: When he was retiring?




                                                                                      PDA-0000029

Ex. 83, p. 5 of 45
            RB: Yeah.

            RD: Okay.

            RB: And initially the—the answer was,"No, I can't help you." And
                then shortly before he retired the answer changed and I was able
                to go down and they—they—they won't all fit in a single banker's
                box, it's a banker's box and —and some. I have all those
                records.2

    Thereafter, these records were requested through defense counsel, but they were
    not received until after Dr. Denney and I had completed our examination of Mr.
    Brockman. When the documents were produced, they included not only medical
    records from William B. Obenour, Jr., MD, and other health care providers, but also
    dated writings by Mr. Brockman that appear to be approximately annual health
    u pdates. These personal writings of Mr. Brockman were found interspersed with
    various medical records, were not in chronological order, and are neither mentioned
    i n nor a part of the medical records provided. Thus, there is currently no way to
    determine whether they were created on or proximal to the dates listed on these
    personal writings or whether they were created after Mr. Brockman became aware
    that he was being investigated. Because they cannot currently be corroborated, I
    refer to these documents below as "personal writings" and take the dates at face
    value for purposes of presenting this chronological listing.

     December 2005

    The earliest complaint of memory impairment identified in the records submitted for
    review is Mr. Brockman's personal writing bearing the date December 2005 in
    which he wrote in pertinent part:

            M ENTAL PROCESSES NOT AS GOOD - BUT NO FURTHER DECLINE

            M EMORY MUCH POORER

            ABILITY TO WORK LONG HOURS STILL GOOD3

     12/12/06

    In Mr. Brockman's personal writing bearing the date 12/12/06, he used identical
    language:

            M ENTAL PROCESSES NOT AS GOOD - BUT NO FURTHER DECLINE



     2   Transcript and video of Dr. Darby's interview and examination of Mr. Brockman, 5/5/21,
         pp. 10-11.
     3   Medical records and personal writings provided by Mr. Brockman, pp. 1375-1376.




                                                                                          PDA-0000030

Ex. 83, p. 6 of 45
            MEMORY MUCH POORER

            ABILITY TO WORK LONG HOURS STILL GOOD4

            COMMENT: Although the repetition of identical or nearly identical
            passages in these seemingly annual personal writings suggests the use
            of a "cut-and-paste" technique in producing successive documents,
            this fact alone cannot distinguish between contemporaneous creation
            a nd ex post facto creation.

     December 2007

    In Mr. Brockman's personal writing bearing the date 12/12/06, he used nearly
    identical language:

            M ENTAL PROCESSES NOT AS GOOD - BUT NO FURTHER DECLINE

            M EMORY MUCH POORER

            ABILITY TO WORK LONG HOURS STILL EXCELLENT5

     December 2008

    In Mr. Brockman's personal writing bearing the date December 2008, he wrote in
    pertinent part:

            M ENTAL PROCESSES NOT AS GOOD - BUT NO FURTHER DECLINE

            M EMORY MUCH POORER

            ABILITY TO WORK LONG HOURS STILL EXCELLENT6

     December 2009

    In Mr. Brockman's personal writing bearing the date December 2009, he wrote in
    pertinent part:

            M ENTAL PROCESSES NOT AS GOOD - BUT NO FURTHER SERIOUS
            DECLINE

            M EMORY CONTINUES TO GET POORER, ESPECIALLY WITH NAMES OF
            PEOPLE THAT I KNOW WELL AND SHOULD REMEMBER EASILY.



     4   Medical records and personal writings provided by Mr. Brockman, pp. 837-838 and
         1377-1378.
     5   Medical records and personal writings provided by Mr. Brockman, pp. 908-909.
     6   Medical records and personal writings provided by Mr. Brockman, pp. 904-905.




                                                                                           PDA-0000031

Ex. 83, p. 7 of 45
            IT IS NAMES THAT I MOST USUALLY NOTICE IT WITH, HOWEVER I AM
            QUITE SURE THAT IT IS PROBABLY MEMORY OF EVERYTHING.

            ABILITY TO WORK LONG HOURS STILL EXCELLENT'

     December 2010

    In Mr. Brockman's personal writing bearing the date December 2010, he wrote in
    pertinent part:

            M ENTAL PROCESSES NOT AS GOOD — BUT NO FURTHER SERIOUS
            D ECLINE. I PROBABLY HAVE SOME BURNOUT — AS MY EFFICIENCY
            A ND EFFECTIVENESS ARE CONSIDERABLY DEGRADED.

            M EMORY CONTINUES TO GET POORER, ESPECIALLY WITH NAMES OF
            PEOPLE THAT I KNOW WELL AND SHOULD REMEMBER EASILY.

            IT IS NAMES THAT I MOST USUALLY NOTICE IT WITH, HOWEVER I AM
            QUITE SURE THAT IT IS PROBABLY MEMORY OF EVERYTHING.

            ABILITY TO WORK LONG HOURS STILL EXCELLENT8

     December 2011

    In Mr. Brockman's personal writing bearing the date December 2011, Mr. Brockman
    wrote in pertinent part:

            M ENTAL PROCESSES NOT AS GOOD — BUT NO FURTHER SERIOUS
            D ECLINE. I PROBABLY HAVE SOME BURNOUT — AS MY EFFICIENCY
            A ND EFFECTIVENESS ARE CONSIDERABLY DEGRADED. FORTUNATELY
            THIS SITUATION HAS NOT WORSENED SINCE LAST YEAR.

            M EMORY CONTINUES TO GET POORER, ESPECIALLY WITH NAMES OF
            PEOPLE THAT I KNOW WELL AND SHOULD REMEMBER EASILY.

            IT IS NAMES THAT I MOST USUALLY NOTICE IT WITH, HOWEVER I AM
            QUITE SURE THAT IT IS PROBABLY MEMORY OF EVERYTHING.

            ABILITY TO WORK LONG HOURS STILL EXCELLENT8

     12/19/11




     7   Medical records and personal writings provided by Mr. Brockman, pp. 898-900.
     8   Medical records and personal writings provided by Mr. Brockman, pp. 1387-1390.
     9   Medical records and personal writings provided by Mr. Brockman, pp. 888-891.




                                                                                          PDA-0000032

Ex. 83, p. 8 of 45
    Dr. Obenour's clinical notes of 12/19/11 in pertinent part read: "No history of
    syncope or significant memory loss, except for names."1°

     December 2012

    In Mr. Brockman's personal writing bearing the date December 2012, he wrote in
    pertinent part:

            M ENTAL PROCESSES NOT AS GOOD - BUT NO FURTHER SERIOUS
            DECLINE.

            THIS SPRING AND SUMMER I HAD SOME SERIOUS BURNOUT - AS MY
            EFFICIENCY AND EFFECTIVENESS WERE CONSIDERABLY DEGRADED.
            IT IS PROBABLY TIME FOR ME TO SELL REYNOLDS. THAT PROCESS IS
            CURRENTLY UNDERWAY.

            M EMORY CONTINUES TO GET POORER, ESPECIALLY WITH NAMES OF
            PEOPLE THAT I KNOW WELL AND SHOULD REMEMBER EASILY.

            IT IS NAMES THAT I MOST USUALLY NOTICE IT WITH, HOWEVER I AM
            QUITE SURE THAT IT IS PROBABLY MEMORY OF EVERYTHING.

            ABILITY TO WORK LONG HOURS EFFECIVELY WAS SERIOUSLY
            DEGRADED DURING THE SPRING AND SUMMER - BUT IS NOW
            RECOVERING SOMEWHAT.11

     12/14/12

    In his clinical notes of 12/14/12, Dr. Obenour wrote,"Age-related memory
    problems."12

     December 2013

    In Mr. Brockman's personal writing bearing the date December 2013, he wrote in
    pertinent part:

            M ENTAL PROCESSES NOT AS GOOD - BUT NO FURTHER SERIOUS
            DECLINE.

            M EMORY CONTINUES TO GET POORER, ESPECIALLY WITH NAMES OF
            PEOPLE THAT I KNOW WELL AND SHOULD REMEMBER EASILY.

            IT IS NAMES THAT I MOST USUALLY NOTICE IT WITH, HOWEVER I AM
            QUITE SURE THAT IT IS PROBABLY MEMORY OF EVERYTHING.

     io   Medical records and personal writings provided by Mr. Brockman, pp. 892-893.
     ii   Medical records and personal writings provided by Mr. Brockman, pp. 882-885.
     12
          Medical records and personal writings provided by Mr. Brockman, p. 881.




                                                                                         PDA-0000033

Ex. 83, p. 9 of 45
            ABILITY TO WORK LONG HOURS EFFECTIVELY HAS PRETTY MUCH
            RECOVERED.13

    December 2014

    In Mr. Brockman's personal writing bearing the date December 2014, he wrote in
    pertinent part:

            M ENTAL PROCESSES NOT AS GOOD — BUT NO FURTHER SERIOUS
            DECLINE

            M EMORY CONTINUES TO GET POORER, ESPECIALLY WITH NAMES OF
            PEOPLE THAT I KNOW WELL AND SHOULD REMEMBER EASILY.

            I N A NEW, WEIRD PHENOMENA, - NAMES THAT I OUGHT TO
            REMEMBER LIKE ONE OF OUR MAIDS AND A RESTAURANT CLOSE BY
            THE HOUSE THAT I HAVE BEEN TO 20 TIMES OR MORE — YET I HAVE
            HAD REAL PROBLEMS REMEMBERING THESE TWO NAMES.

            ABILITY TO WORK LONG HOURS EFFECTIVELY IS NOW PRETTY MUCH
            AS GOOD AS EVER NOW.14

    12/16/14

    On 12/16/14, Dr. Obenour wrote:

            He notes some problems with name recall but in general his intellect is
            still intact and he still enjoys work . . • 15

    September 2015

    In Mr. Brockman's personal writing bearing the date September 2015, he wrote in
    pertinent part:

            MY JOB AS CHAIRMAN/CEO OF REYNOLDS & REYNOLDS (5,000
            E MPLOYEES) CONTINUES TO BE DEMANDING — BUT HIGHLY
            SUCCESSFUL AND REWARDING.



            M ENTAL PROCESSES NOT AS GOOD — BUT NO FURTHER SERIOUS
            DECLINE.



     13
          Medical records and personal writings provided by Mr. Brockman, pp. 876-879.
     14
          Medical records and personal writings provided by Mr. Brockman, pp. 912-915.
     15
          Medical records and personal writings provided by Mr. Brockman, pp. 871-873.




                                                                                         PDA-0000034

Ex. 83, p. 10 of 45
            MEMORY CONTINUES TO GET POORER, ESPECIALLY WITH NAMES OF
            PEOPLE THAT I KNOW WELL AND SHOULD REMEMBER EASILY.

            I N A NEW, WEIRD PHENOMENA, - NAMES THAT I OUGHT TO
            REMEMBER LIKE ONE OF OUR MAIDS AND A RESTAURANT CLOSE BY
            THE HOUSE THAT I HAVE BEEN TO 20 TIMES OR MORE - YET I HAVE
            HAD REAL PROBLEMS REMEMBERING THESE TWO NAMES.

            ABILITY TO WORK LONG HOURS EFFECTIVELY IS NOW PRETTY MUCH
            AS GOOD AS EVER NOW.



            U NFORTUNATELY I DON'T REMEMBER IF I GOT THE SHINGLES SHOT
            OR NOT.(MEMORY PROBLEMS)16

    11/6/15

    In a clinic visit with K. Lance Gould, MD, on 11/6/15, Mr. Brockman reported
    experiencing depression for the first time since taking Topro1.17

    5/31/16

    On 5/31/16, Mr. Brockman wrote a 2-page memorandum to Dr. Gould about his
    recent bouts of atrial fibrillation. This document, which was in the medical records
    provided by the facility, resembles the writing style and formatting of Mr.
    Brockman's unverified personal writings. The document makes no mention of
    memory problems and demonstrates Mr. Brockman's careful observation,
    recollection, and organization and his logical approach to problem solving.18

     November 2016

    In Mr. Brockman's personal writing bearing the date November 2016, he wrote in
    pertinent part:

            MY JOB AS CHAIRMAN/CEO OF REYNOLDS & REYNOLDS (5,000
            E MPLOYEES) CONTINUES TO BE DEMANDING - BUT HIGHLY
            SUCCESSFUL AND REWARDING.



            M ENTAL PROCESSES NOT AS GOOD - BUT NO FURTHER SERIOUS
            DECLINE.



     16
          Medical records and personal writings provided by Mr. Brockman, pp. 1419-1425.
     17
          UT Physicians, pp. 57-58.
     18
          UT Physicians, pp. 44-45.




                                                                                           PDA-0000035

Ex. 83, p. 11 of 45
             MEMORY CONTINUES TO GET POORER, ESPECIALLY WITH NAMES OF
             PEOPLE THAT I KNOW WELL AND SHOULD REMEMBER EASILY.

             I N A NEW, WEIRD PHENOMENA, - NAMES THAT I OUGHT TO
             REMEMBER LIKE ONE OF OUR MAIDS AND A RESTAURANT CLOSE BY
             THE HOUSE THAT I HAVE BEEN TO 20 TIMES OR MORE - YET I HAVE
             HAD REAL PROBLEMS REMEMBERING THESE TWO NAMES.

             ABILITY TO WORK LONG HOURS EFFECTIVELY IS NOW PRETTY MUCH
             AS GOOD AS EVER NOW.19

    c. September 2017

    In approximately September 2017, Mr. Brockman delivered a lengthy speech to
    Reynolds and Reynolds employees that was videotaped. In this speech, Mr.
    Brockman was completely coherent, with no abnormalities of speech, no loss of
    attention, no lapse of memory, no misuse of language, no word searching, no loss
    of train of thought, and no confusion. He did not read this speech, but he did
    glance at notes or the text of the talk. His eyes swept the audience as he spoke.
    His affect was appropriate to the context. His facial movements may have been
    diminished, but certainly not "frozen," as for example, his small smile after
    finishing. He moved carefully and slowly as he turned to his left to leave the
    lectern. The content of this speech included details of his personal history and the
    history of the firm, the company's economic theory, which he described as his
    personal economic theory of small firms, including an emphasis on repetitive
    revenue, an exclusive focus on net profits, investment in product development,
    m aintaining a "war chest," and other abstract concepts. He said he sees himself as
    the "chief steward" of the company and works seven days a week to be the best
    steward he can be. He claimed that the money is put back into the company, and
    that "the company looks after those who look after the company." He said,"One of
    m y goals is to never be in the news."2°

             COMMENT: This video contains some evidence of Parkinson's
             disease, at least when viewed in retrospect, but no evidence of
             cognitive impairment or dementia.

    12/14/17

    Records from a 12/14/17 examination by Jeffrey A. Kozak, MD, of Fondren Ortho,
    were scanned into the Baylor record at the time of Dr. Yu's 3/20/19 evaluation [see
    below] and indicated under the review of systems that Mr. Brockman's neurological
    history was "Positive for Memory Loss and Tingling," but his psychiatric history was




    19   Medical records and personal writings provided by Mr. Brockman, pp. 1426-1434.
    29   Video of Mr. Brockman speaking to Reynolds & Reynolds employees in approximately
         September 2017 [UCSH 0207346].




                                                                                        PDA-0000036

Ex. 83, p. 12 of 45
    "Negative for Depression, Anxiety, Memory Loss, Mental Disturbance, Suicidal
    Thoughts, Mood Disorders, Paranoia, Sleep Disturbances and Eating Disorder."21

             COMMENT: If Mr. Brockman sought to show Dr. Yu documentation of
             a history of memory impairment, why did he provide only an obscure
             a nd internally inconsistent note from an orthopedic surgeon rather
             than the seemingly annual catalog of self-reported memory problems
             that is found only among the documents provided to his lawyers as a
             result of Dr. Darby's inquiry after Mr. Brockman volunteered, on
             5/5/21, that he had additional medical records stored at his home?

    1/16/18

    In Mr. Brockman's personal writing bearing the date 1/16/18, he wrote in pertinent
    part:

             MY JOB AS CHAIRMAN/CEO OF REYNOLDS & REYNOLDS (5,000
             E MPLOYEES) CONTINUES TO BE MORE DEMANDING THAN EVER - BUT
             HIGHLY SUCCESSFUL AND REWARDING.



             M ENTAL PROCESSES NOT AS GOOD - I AM HAVING MORE DIFFICULTY
             I N DEALING WITH THE VOLUME OF BUSINESS ISSUES.

             SHORT-TERM MEMORY CONTINUES TO GET POORER, ESPECIALLY
             WITH NAMES OF PEOPLE THAT I KNOW WELL AND SHOULD
             REMEMBER EASILY.

             I N A NEW, WEIRD PHENOMENA, - NAMES THAT I OUGHT TO
             REMEMBER LIKE ONE OF OUR MAIDS AND A RESTAURANT CLOSE BY
             THE HOUSE THAT I HAVE BEEN TO 20 TIMES OR MORE - YET I HAVE
             HAD REAL PROBLEMS REMEMBERING THESE TWO NAMES. THIS
             CONDITION IS UNCHANGED.

             ABILITY TO WORK LONG HOURS EFFECTIVELY IS NOW PRETTY MUCH
             AS GOOD AS EVER NOW. HOWEVER MY EFFICIENCY PER HOUR IS
             LESS.

             MY SENSE IS THAT I AM COMING TO THE END OF MY FULL-TIME,
             FULLY-ENGAGED BUSINESS CAREER.

             I AM GOING TO HAVE TO COME TO GRIPS WITH BEING LESS ACTIVE
             A ND LESS INVOLVED22



    21   Baylor College of Medicine, pp. 854-858.
    22   Medical records and personal writings provided by Mr. Brockman, pp. 1408-1418.




                                                                                          PDA-0000037

Ex. 83, p. 13 of 45
    9/5/18: Bermuda Police Service raided the home of Evatt Tamine

    c. November 2018

    M r. Brockman delivered a speech at the Reynolds and Reynolds Company birthday
    party in approximately November 2018. As Mr. Brockman began speaking, he
    mentioned that he doesn't often address audiences, but rather spends a lot of time
    at home at his desk dealing with e-mail. He described the origin of the birthday
    party and the stewardship they share at the company. He recognized his wife
    Dorothy and their 50th anniversary, the spouses of the directors in attendance,
    everyone who has served in the military, executives of the Hendrick Companies,
    newly promoted Reynolds and Reynolds officers, and Dave Bates for his 35 years of
    service, followed by a story about how Dave was his first promotion. Mr. Brockman
    sometimes spoke off script, with charm, humor, and without apparent error. He
    used one slide and glanced at a script or notes throughout much of his talk, often
    looking up to make eye contact with the audience. His entire speech was
    completely coherent, with no abnormalities of speech, no loss of attention, no lapse
    of memory, no misuse of language, no word searching, no loss of train of thought,
    and no confusion. He smiled at times. He moved carefully and slowly as he left the
    lectern and stage. While seated in the audience watching the speaker, Mr.
    Brockman applauded appropriately. When he walked again to the stage (c. 52:08-
    52:20), Mr. Brockman moved slowly, with limited associated movement. He
    i ntroduced an award video, then mistakenly tried to introduce another video
    prematurely, acknowledged his error with self-deprecating humor, and introduced
    other award winners. He had to repeat one word (1:08:05-1:08:15) in reading the
    text for an award recipient.23

            COMMENT: This video contains some evidence of Parkinson's
            disease, at least when viewed in retrospect, but no evidence of
            cognitive impairment or dementia.

    11/2/18

    An MRI of the brain without contrast was interpreted by Fanny E. Moron, MD, as
    showing "No intracranial abnormalities, particularly no disproportionate lobar
    atrophy.1124

    1/16/2019

    M r. Brockman was deposed in a civil matter as Chairman and CEO of Reynolds and
    Reynolds on 1/16/19, and his deposition was videotaped. He was able to name the
    lawyers he prepared with the prior day, except the surname of one of them (John)
    who was not present at the deposition. Throughout the deposition he was polite
    and socially appropriate. He reasonably questioned the predicate to a question,


    23   Video of Mr. Brockman speaking at the 2018 Reynolds and Reynolds Company birthday
         party in approximately November 2018 [UCSH 0210542].
    24   Baylor College of Medicine, 792-793; UT Physicians, 19-20.




                                                                                       PDA-0000038

Ex. 83, p. 14 of 45
    took the time to read documents and exhibits from start to finish before responding
    to questions, read aloud from an exhibit adequately, and carefully avoided going
    beyond what he personally knew or recalled. He answered with subtle distinctions
    a bout the meaning of terms, whether a user ID was temporary or permanent, and
    other details. He recalled the meaning of acronyms, such as TAC meaning
    Technical Assistance Center. In response to questions incorrectly suggesting that
    software security enhancements occurred all at once, he explained that software
    security enhancements are not all released simultaneously. His testimony reflected
    detailed recollection of past events. For example, in a discussion of Exhibit 639 he
    acknowledged creating a document reflecting talking points for a phone call he
    expected would be imminent but did not occur until months later, he recalled that
    that he didn't cover all of the talking points when the call did occur, showed
    detailed memory for the conversation and its failure to provide a clear answer on a
    key question, and the fact that 45 minutes of the hour-long call was unproductive.
    As another example of his cognitive capacity, when asked if dealers left Reynolds
    and Reynolds over data access issues, he pointed out that Reynolds and Reynolds
    doesn't always learn why dealers left, doesn't have data correlating security
    concerns with dealers leaving, and doesn't have reason to believe more than a
    small fraction of dealers left for that reason, despite efforts to track reasons for
    leaving when possible. His facial movement was limited, and he drank carefully
    and slowly from a bottle during the deposition.'

            COMMENT: This video contains some evidence of Parkinson's
            disease, at least when viewed in retrospect, but no evidence of
            cognitive impairment or dementia.

    1/17/2019

    On the second day of this civil deposition, Mr. Brockman remained polite and
    respectful, provided articulate, relevant answers, made subtle distinctions,
    and demonstrated comprehensive knowledge of the industry. He did not
    accept the premises of all questions, demonstrated superior intelligence, and
    took the time to read exhibits, putting on his glasses to do so. He once
    mentioned some difficulty seeing what apparently was a table of numbers in
    small font. Throughout his testimony, he was coherent and thoughtful, with
    no evidence of confusion or difficulty processing ideas, words, charts, or
    n umerical data. Shown various documents from 2014-2017, he recalled
    writing or reading them, the context, what was occurring at the time, and the
    basis of the points made. He repeatedly demonstrated intact long-term
    memory and short-term memory. He demonstrated intact abstract thinking
    as, e.g., when he explained that Reynolds and Reynolds does not have
    i nternal cost accounting because of the overhead costs; he said he'd rather
    have the productivity than the profitability numbers.26


    25   Transcript and video of the deposition of Robert Brockman In re. Dealer Management
         Systems Antitrust Litigation, 1/16/2019.
    26   Transcript and video of the deposition of Robert Brockman In re. Dealer Management
         Systems Antitrust Litigation, 1/17/2019.




                                                                                          PDA-0000039

Ex. 83, p. 15 of 45
          COMMENT: In this two-day deposition, Mr. Brockman did display
          some motor signs of Parkinson's disease but no signs or symptoms of
          cognitive impairment or dementia.

    1/30/19

    The earliest complete neurological evaluation received for review was conducted on
    1/30/19 by Joseph Jankovic, MD, and Neurology Fellow Daniel Savitt, DO, on
    referral from James Pool, MD, and Stuart Yudofsky, MD. The portions relevant to
    cognitive function and possible REM sleep disorder are extracted here:

          The onset of symptoms began 1.5 years ago with concentration and
          memory difficulty. He developed depressive symptoms about 6
          months ago for which bupropion was started 2 months ago. Since that
          time, he has noticed an improvement in his thinking and memory. . . .

           He also began acting out his dreams at nighttime 2-3 years ago,
           kicking and punching in his sleep. . . . his wife notices slower speech



          The patient denies hallucinations, delusions, insomnia . . . . The
          patient has depression, anxiety, and memory loss. The patient has
          stiffness, gait imbalance, and hearing abnormalities.



          There is appropriate mood and affect.



          The patient is alert and oriented to person, time, and place. Speech is
          fluent with good comprehension. There are no abnormal perceptions,
          hallucinations, delusions, or illusions. The patient is able to follow
          three-step commands. There is no right/left disorientation, ideomotor
          or constructional apraxia, or evidence of ADHD or OCD. A MoCA
          examination was administered and the patient received a score of
          19/30.



           He has also noticed . . . dream-acting behavior (REM-Behavioral
           Disorder) . . . His examination is significant for a MoCA of 19/30



          The following tests were requested:




                                                                                     PDA-0000040

Ex. 83, p. 16 of 45
            -DaTscan to evaluate for dopaminergic deficiency and differentiate
            between vascular parkinsonism and idiopathic Parkinson's disease.
            -Has appointment scheduled for neuropsychiatric testing.
            -Will place referral to Stromatt driving evaluation due to concerns for
            safety with driving.
            We prescribed the following medications and treatments:
            -Start carbidopa/levodopa 25/100 and titrate to 2 tablets three times
            daily. . .



            Visit Diagnoses
            Parkinson's disease
            Cognitive decline
            REM behavioral disorder'

            COMMENT: Findings of this evaluation are consistent with the
            presence of Parkinson's disease. This is the sole mention of
            "punching" found in the record in connection with inquiries for the
            presence of a REM behavior disorder; elsewhere, only kicking is
            mentioned except where subsequent evaluators relied on this
            evaluation. The MoCA score of 19/30 (which, if valid, would indicate
            m ild cognitive impairment) is the first seemingly objective evidence of
            cognitive decline found in the record and reflects performance while
            cognitive function is obviously being tested.

    2/14/2019

    Dopamine Transporter Imaging (DaTscan) conducted on 2/14/19 was interpreted
    as showing "Severe loss of dopaminergic neuronal function in the bilateral dorsal
    striata with loss greater on the right compared to the left."28

            COMMENT: This finding is consistent with Parkinson's disease but is
            u ninformative about Mr. Brockman's cognitive function.

    2/19/19

    A progress note written by Joseph Jankovic, MD, on 2/19/19 reads:

            I just spoke with Mr. Brockman to inquire about his response to
            Sinemet. He is currently taking Sinemet 25/100 2 tabs tid and is able
            to tolerate the medication well. He has so far noted minimal
            i mprovement in his slowness and gait and has been able to resume his
            exercise program. I also discussed with him the results of DaTscan,


    27   Medical records and personal writings provided by Mr. Brockman, pp. 36-43.
    28   Medical records and personal writings provided by Mr. Brockman, p. 90; UT Physicians,
         pp. 19-20.




                                                                                           PDA-0000041

Ex. 83, p. 17 of 45
            performed on 2/14. He understands that the scan shows evidence of
            severe dopaminergic deficiency especially in the R striatum.

            He spoke with Dr. Yudofsky this morning and was prescribed
            Trazodone 50 mg qhs to help him with his insomnia and early morning
            awakening which he plans to initiate tonight. He is scheduled to see
            Dr. York for neuropsychological assessment on 3/1/19. He is
            concerned about his cognitive decline, exacerbated by recent business-
            related stressors.29

    3/1/19

    In the first of three neuropsychological assessments by Dr. Michelle York, Mr.
    Brockman reported seeing a bug on the floor during testing that neither Dr. York
    nor Mrs. Brockman could see. Based largely on the testing she conducted, Dr. York
    diagnosed "dementia of mild to moderate severity." Among Dr. York's
    recommendations in this and subsequent evaluations were that Mr. Brockman use a
    d ry-erase board and memory station in his home and that he use jigsaw and
    crossword puzzles.3°

            COMMENT: This is the earliest use of the term "dementia" to describe
            M r. Brockman's condition that I was able to identify in the records
            received for review. The validity of Mr. Brockman's performance in the
            testing that led to that diagnosis has been called into question and will
            be addressed in Dr. Denney's report.

    3/13/19

    Joseph Jankovic, MD, saw Mr. Brockman for a follow-up visit on 3/13/2019 and
    wrote:

            The patient states he is worse mentally and physically despite
            levodopa. Although he had slight improvement in his motor
            functioning initially with low dose levodopa his motor and mental
            functioning deteriorated as he gradually increased dosage. According
            to wife he has a "zombie-like effect" for a few minutes after each dose
            of Sinemet. He has increasing difficulties getting in and out chair and
            car and feels unsteady. He avoids stairs and long-distance driving. He
            is most concerned about his short-term memory. His RBD [REM
            behavioral disorder] has improved since Dr. Yudofsky placed him on
            Trazodone.




    29   Baylor College of Medicine, p. 742.
    39   Report of Michele York, Ph.D., re. neuropsychological evaluation of Mr. Brockman on
         3/1/19.




                                                                                               PDA-0000042

Ex. 83, p. 18 of 45
             We discussed the results of neuropsychological testing and the
             presence of dementia. Although Dr. York suggested DLB [dementia
             with Lewy bodies] he has never had hallucinations or fluctuations.31

    3/20/19

    On 3/20/19, Mr. Brockman was seen by Melissa Yu, MD, for a memory evaluation
    requested by James Pool, MD. Mrs. Brockman and their son accompanied Mr.
    Brockman to this appointment, and the record is silent as to which of these persons
    contributed to completing the patient questionnaire. Responses to the patient
    q uestionnaire completed at the time of this evaluation indicated that Mr. Brockman
    had been having "memory difficulties" for eight months that make every day living
    for the patient more difficult or complicated, including "some loss" of ability to
    perform household tasks, remember a short list of items, "find way about
    outdoors/indoors," ability to find way around familiar streets, ability to grasp
    situations or explanations, and ability to recall recent events. He had given up or
    stopped driving a car one month previously, coinciding with the onset of difficulty
    traveling alone.

    N onetheless, he did not forget where he left things or forget phone numbers. He
    did not become confused as to time, where he was, or his age or other personal
    i nformation. He did not see something that was not actually there. Moreover, he
    did not have trouble expressing himself in words, say one word when he meant
    another, have trouble finding words, have trouble understanding reading, have
    trouble balancing a checkbook, have trouble operating a television, have trouble
    dialing a phone, or get lost in his own home. He was said to have used incomplete
    sentences, hesitated, or stopped while talking over the previous eight months.32

     Records of Dr. Yu's evaluation read in pertinent part:

             Memory loss is reported beginning at least back to November 2017 in
             a Fondren Orthopedics progress note scanned into the chart.



             He now presents for memory disorders evaluation. He reports always
             having "superior memory." He reports onset of symptoms about 2
            years ago. His wife reports some symptoms about 3 years ago with
            "slowing down" and then symptoms became much more obvious about
            9 months ago associated with a stressful life event. His son notes that
             he repeats himself at times. He reports mild progression since that
            time.

             He reports always misplacing objects. He reports minimal word finding
             issues but difficulty with spelling. He reports minimal difficulty with

    31   Baylor College of Medicine, pp. 714-716.
    32   Baylor College of Medicine, pp. 684-696.




                                                                                       PDA-0000043

Ex. 83, p. 19 of 45
             names. He reports some difficulty remembering to take his
             medications. He has stopped driving at his physician's request. No
             d riving incidents were reported but his wife notes that he drives
             slower. He reports on trouble managing finances. . . . He notes some
             difficulty with planning out tasks at work, family notes that he doesn't
             i nitiate activity like he used to.

             . . . He describes his mood as "pretty good" but notes feeling shaken
             a bout his neuropsychological test results. His son reports that his
             a bility fluctuates (he's had him draw clocks at various times). He
             reports episodes of "blankness" associated with less interaction
             alternating with improved cognition. His son notes significant
             fluctuations in terms of his decision making abilities, with good days
             and bad days. . . .

             . . . At least four episodes of dream enactment behavior is reported
             and snoring - both have improved with trazodone . . .

             He reports one episode of visual disturbance - saw a rainbow/possible
             visual aura about 8 years ago. No other visual phenomena are
             reported with the exception of a possible hallucination during
             neuropsychological testing - wife notes it was a "bad day." No
             a uditory hallucinations are reported.

                                           *

             M MSE 26/30 (7s), 25/30 (spelling) Definite visual issues noted with
             significant issues noted drawing clock and intersecting pentagons.
             Clock drawing 2/4 (circle, numbers, unable to indicate correct time.
             N umbers on outside of clock)



             Differential includes Dementia with Lewy Bodies or Parkinson's Disease
             with dementia. Time course and fluctuations in cognition are more
             suggestive of DLB.33

             COMMENT: The only compelling evidence of fluctuations in cognition
             reflect Mr. Brockman's markedly impaired performance when he knows
             his cognitive abilities are being tested. No stressful l ife events that
             could explain his symptoms having become "much more obvious" were
             documented to have occurred nine months before this evaluation, but
             the Bermuda Police Service raid had occurred six months earlier. This
             is the first description I found in the records of Mr. Brockman having
             difficulty remembering his medications or managing his finances;
             these claims happen to correspond precisely to the examples given in

    33   Medical records and personal writings provided by Mr. Brockman, pp. 74-80.




                                                                                        PDA-0000044

Ex. 83, p. 20 of 45
             DSM-5 for Criterion B of the diagnostics criteria for a diagnosis of
             Major Neurocognitive Disorder: "The cognitive deficits interfere with
             i ndependence in everyday activities (i.e., at a minimum, requiring
             assistance with complex instrumental activities of daily living such as
             paying bills or managing medications)."34

    4/1/19

    In a clinic visit with Dr. Gould on 4/1/19, Mr. Brockman, his wife, and his son, all
    reported that his then-current dose of Sinemet caused "mental stunning," made
    him unable to focus or do simple mental tasks. Dr. Gould identified drug
    i nteractions that could cause these effects and altered the doses of these
    medications.35

            COMMENT: Although this was the dose of medication at the time of
            Dr. York's 3/1/19 testing, I believe medication-related effects are
            i nsufficient to account for test results that made Mr. Brockman appear
            to be demented.

    4/5/19

    In a 4/5/19 letter to his treating doctors seeking advice before a fishing trip, Mr.
    Brockman wrote:

            I am Chairman and CEO of a large tech company with over 5,000
            employees and 25,000 customers so I must make endless executive
            decisions. My long term memory is good. It used to be almost
            perfect.

             On one Sinemet three times a day, I can perform my duties.
             However, on two Sinemet three times a day, I can work, but it is more
             difficult because I feel "drugged."'

    7/18/19

    In a meeting with counsel on 7/18/19, Mr. Brockman uncharacteristically asked to
    direct the meeting and presented a binder of medical reports illustrating why he
    was unable to assist counsel. This was the first time Mr. Romatowski had
    encountered a client with cognitive problems bring up the issue of his cognitive
    problems.'



    34
         American Psychiatric Association: Diagnostic and Statistical Manual of Mental Disorders,
         5th Ed. Arlington, VA: American Psychiatric Association, 2013, at p. 602.
    35
         UT Physicians, pp. 17-18.
    36
         Medical records and personal writings provided by Mr. Brockman, pp. 204-205; UT
         Physicians, pp. 13-14.
    37
         Dr. Denney's Interview of Peter Romatowski, 6/15/21, at p. 3.




                                                                                            PDA-0000045

Ex. 83, p. 21 of 45
          COMMENT: Those with severe mental impairment often minimize or
          deny their impairment, while malingerers often call attention to their
          claimed impairment.

    9/18/19

    On 9/18/19, Mr. Brockman testified at a Federal Trade Commission Investigational
    Hearing in the Matter of CDK Global and Reynolds and Reynolds. Apart from a few
    points noted below, Mr. Brockman was intelligent, responsive, coherent, logical,
    perceptive, and articulate in his answers to many hours of questioning about his
    business practices, Reynolds and Reynolds, its software, and its competitors and
    partners. There were a few instances in which Mr. Brockman did not recall details
    from years previously, for example:

          Q: Am I correct in my understanding that at some point after UCS
             bought Reynolds that there was a breach of contract suit that went
             on between Reynolds and General Motors?

          A: I think there was something, but frankly, I don't remember exactly
             the details of what that was all about. [P. 33]

    In response to a question about an acquisition from Ford, he gave a detailed
    historical recollection of events that occurred in 1992, even remembering the name
    of a key player at the time, though he caught his own error of having incorrectly
    said it occurred in 1972 rather than 1992 [pp. 38-40].

    Another readily corrected example of Mr. Brockman misspeaking also illustrates his
    superior cognitive functioning:

          Q: And CDK was going to put its apps in through Rd. What is your
             u nderstanding of why that hadn't happened prior to this 2013-
             2015 time period?

          A: Well, they didn't need to before that because they had their DMI,
             Authenticom, busily doing it for them.

          Q: In that answer you said DMI and Authenticom. Did you mean DMI
             and IntegraLink?

          A: IntegraLink. Excuse me. I get names confused. I know a little bit
             a bout a lot of things, and of course, the corollary to that is it
             means over time I will know everything about nothing. [Pp. 62-
             63]




                                                                                   PDA-0000046

Ex. 83, p. 22 of 45
    In one instance, Mr. Brockman said "infer" when he apparently meant "imply,"
    which is a common usage error [p. 132].38

             COMMENT: Mr. Brockman's demonstrated cognitive abilities during
             this testimony are not consistent with the presence of mild or
             moderate dementia, despite some evidence of mild memory difficulty.

    10/1/19

    In Mr. Brockman's personal writing bearing the date 10/1/19, he wrote in pertinent
    part:

             Memory issues have become more defined
             -recall of names has gotten worse
             -dates are in numerous cases are almost completely gone
             -unless I was deeply involved with an event or issue - or it was very
             recent—I have no better than partial recall—and frequently no recall at
             all.



             -reduced memory ability
             -reduced organizational ability.39

    c. November 2019

    In approximately November 2019, Mr. Brockman spoke at the 2019 Reynolds and
    Reynolds Company birthday party. This speech was videotaped and revealed no
    evidence of cognitive impairment or dementia. In the video, he appears to have a
    stooped posture, shuffling gait, slow movement when turning, and some difficulty
    with pronunciation and speech fluency [perhaps the hypokinetic dysarthria seen in
    Parkinson's disease]. In one instance, he said "our birthday apartment" and
    corrected himself to say our "our birthday event.'

             COMMENT: My observations of Mr. Brockman in this video support a
             diagnosis of Parkinson's disease but not a diagnosis of cognitive
             i mpairment or dementia.

    12/3/19

    Dr. York's second evaluation of Mr. Brockman, on 12/3/19, conducted as a retained
    expert of defense counsel, reached the same diagnosis as the previous evaluation:

    38
         Transcript of 9/18/19 testimony at Federal Trade Commission Investigational Hearing in
         the Matter of CDK Global and Reynolds and Reynolds.
    39
         Medical records and personal writings provided by Mr. Brockman, pp. 195-196.
    40
         Video of Mr. Brockman speaking at the 2019 Reynolds and Reynolds Company birthday
          party in approximately November 2019 [UCSH 0212042].




                                                                                           PDA-0000047

Ex. 83, p. 23 of 45
    "dementia of mild to moderate severity." On this occasion, which she characterized
    as a "forensic evaluation" in contrast to her previous "clinical evaluation," she also
    offered the opinion that he was "unable to participate and aid in his own defense."'

             COMMENT: Dr. York was offering an opinion as to Mr. Brockman's
             competency to stand trial before he had even been indicted or charged
             with any crime. There is no indication that she evaluated his
             competence to stand trial, though she did learn that he was worried
             that the government was asking his business associates questions
             a bout him. It appears that she relied on his testing performance to
             diagnose dementia and assumed this would make him "unable to
             participate and aid in his own defense."

    Early 2020

    Tommy Barras, Mr. Brockman's successor as President and, later, as CEO of
    Reynolds and RenoIds Company, testified that in early 2020, he had no doubt about
    M r. Brockman's ability to lead Reynolds and Reynolds.42

    1/20/20

    On 1/20/20, Mr. Brockman first saw treating neurologist Eugene Lai, MD, on
    referral from James Pool, MD. In response to a new patient questionnaire
    a pparently completed in Mr. Brockman's handwriting, the reason for the visit was
    given as "Parkinson's symptoms, stiffness, memory lapses, Bradykinesia, dopamine
    loss as indicated by Datscan, Depression." Mr. Brockman wrote that he had been
    diagnosed in late 2018 or early 2019 and had been treated by Joseph Jankovic, MD
    with Sinemet and an Exelon patch. In his consultation notes, Dr. Lai wrote:

             . . . He has a 3-4 year history of memory decline. He is repeating
             himself, misplacing personal objects, and losing his train of thought.
             He has difficulty with multi-tasking, taking medications, spelling, and
             word-finding. He has difficulty managing his personal finances and he
             has a bookkeeper. He does not initiate activities as he used to. His
             wife states that his ability to make decisions fluctuates. He has
             episodes of blanking or tuning out associated with reduced interactions
             with his surroundings. He was advised not to drive by his physician,
             but he is still driving in closeby familiar areas. About 21/2 years ago,
             he started slowing down with imbalance and walking changes. His
             steps became shorter and he developed a stooped posture. He also
             experienced depression later and bupropion was started which has
             helped to improve his thinking and memory. . . . He began snoring,
             kicking, punching, and acting out his dreams during sleep about 2-3

    41
         Report of Michele York, Ph.D., re. neuropsychological evaluation of Mr. Brockman on
         12/3/19.
    42   Transcript of deposition of Norman Thomas Barras, Jr., in Cox Automotive, Inc., et al., v.
         the Reynolds and Reynolds Co., 4/15/21 [redacted], p. 50.




                                                                                              PDA-0000048

Ex. 83, p. 24 of 45
             years ago. He was diagnosed with REM sleep behavior disorder and
             was prescribed clonazepam that has helped his symptoms.



             Mental Status: He is alert and oriented to person, place, time, and
             situation. Montreal Cognitive Assessment (MoCA) score is 20/30,
             m issing 2 points with visuospatial/executive function, 2 points with
             serial 7 subtraction, 1 point with language fluency, and 5 points with
             delayed recall. Mood and affect are appropriate. Speech is slightly
             hesitant. Comprehension and expression are slower.



             I MPRESSION: This 78-year-old man presents with a 3-year history of
             progressive Parkinson's disease symptoms, cognitive decline,
             depression, and insomnia. His MoCA test score is 20/30. His
             neurological examination is significant for cognitive deficits, rigidity,
             bradykinesia, sensory impairment, and unsteadiness. Therefore, his
             clinical findings are more consistent with the diagnosis of Parkinson's
             disease with mild to moderate cognitive impairment. Differential
             diagnoses include: dementia with Lewy Bodies, vascular parkinsonism,
             other secondary parkinsonism, or Parkinson plus syndromes. He has
             signs of peripheral polyneuropathy with gait imbalance. He also has
             rapid eye movement(REM) sleep behavior disorder.'

     March 2020

    Bob Schaefer testified that through March 2020, Mr. Brockman was the decision
    maker for the line of business Mr. Schaeffer headed, and Mr. Brockman was in
    control of that business. Mr. Brockman made decisions regarding pricing; interface
    i ntegration; RCI vendors; desking; any security enhancements and communications
    to the market about security enhancements; contract decisions and directions for
    all contracts; and direction for the entire data services business and desking,
    communicating primarily by e-mail several times a week. While working closely
    with Mr. Brockman, Mr. Schaefer had no reason to think that Mr. Brockman could
    not lead the company, thought of him as mentally sharp and intelligent, and saw no
    sign of diminishing mental capacity or dementia."

    6/2/20

    Seth P. Lerner, MD, commented in 6/2/20 clinical notes, "having some memory
    issues."'


    43   Houston Methodist, pp. 118-142.
    44   Transcript of deposition of Robert Schaefer in Cox Automotive, Inc., et al., v. the
         Reynolds and Reynolds Co., 3/18/21 [redacted], pp. 59-63.
    45   Baylor College of Medicine, pp. 160-163.




                                                                                               PDA-0000049

Ex. 83, p. 25 of 45
    6/3/20

    In June 2020, Tommy Barras was appointed President of Reynolds and Reynolds
    Company, reporting to Bob Brockman, the Chairman and CE0.46 In an e-mail to
    M r. Barras on 6/3/20, Mr. Brockman wrote that they should be talking every day
    a bout any important decision "before it is leaked or published," and Mr. Barras
    testified that when he was President and Mr. Brockman was CEO, they did talk
    a bout every important decision.47 [Norman Thomas Barras, Jr., Depo., 4/15/21, p.
    58].

    6/3/20

    On 6/3/20, an e-mail was sent throughout Reynolds and Reynolds Company in
    which Mr. Brockman announced significant management changes and wrote about
    continuing as CEO for the time being."

    10/1/20: Federal indictment made public.

    10/7/20

    As a result of her third evaluation, conducted as a retained expert for defense
    counsel and which she characterized as "forensic," Dr. York diagnosed Mr.
    Brockman with "dementia of mild to moderate severity" and opined that he was
    "unable to participate and aid in his own defense," as she had previously. In her
    report, Dr. York described a delusional episode that Mr. Brockman's son had
    subsequently reported to her in a telephone call as having occurred in the early
    morning hours of 10/19/20.

             COMMENT: As previously, Dr. York's opinions appear to be based on
             test performance, historical information provided by the Brockman
             family, and the assumption that if Mr. Brockman is demented, he must
             be incompetent to stand trial. The incident reported to her by Mr.
             Brockman's son is not referred to in any other medical records and
             was not described by Mr. Brockman.

    10/22/20

    A CogniSense report dated 10/22/20 and signed by James Pool, MD, provides the
    background information that Mr. Brockman's "wife (Dorothy) and son (Robert)
    report deteriorations in cognitive functions." The test results are reported as:




    46   Transcript of deposition of Norman Thomas Barras, Jr., in Cox Automotive, Inc., et al., v.
         the Reynolds and Reynolds Co., 4/15/21 [redacted], pp. 10 and 24.
    47   Id., p. 58.
    48   E-mail to Reynolds and Reynolds, 6/3/20.




                                                                                              PDA-0000050

Ex. 83, p. 26 of 45
             Total score is 13 out of 29 points. This score falls below the cutoff for
             dementia in patients of this age and educational level and is typically
             associated with Major Neurocognitive Disorder, moderate (formerly
             Moderate Dementia)."

     November 2020

    Tommy Barras testified that he was appointed Chairman and CEO of Reynolds and
     Reynolds in November 2020 as Bob Brockman resigned as Chairman and CE0.5°
     M r. Barras testified that he first became aware of Mr. Brockman having any illness
    (namely, Parkinson's disease and kidney and bladder disease) that could affect his
    a bility to lead the company when, as he understood it, Mr. Brockman exercised the
    disability provision of his employment agreement in November 2020.51 Until then,
     he had no reason to think that Mr. Brockman was unable to lead Reynolds and had
     no reason to doubt his mental capacities, even though he also testified that he had
    for years witnessed Mr. Brockman forgetting things, not recalling some decisions,
    and being unable to grasp technology discussions, all of which Mr. Barras attributed
    to aging and stress.52

     November 2020

    In Mr. Schaefer's opinion, Mr. Brockman did a good job running Reynolds and
    Reynolds as CEO until Mr. Brockman left the company.'

    2/2/21

    The most recent assessment by a treating neurologist is a 2/2/21 follow-up visit
    with Eugene Lai, MD, attended by Mr. and Mrs. Brockman. Dr. Lai wrote, in
    pertinent part:

             . . . He has retired as CEO of his software company but is still under a
             lot of stress. Sleep is better with trazodone and clonazepam. . . .
             Basic activities of daily living are independent, but slower. . . . Moods
             are stressed and depressed. His wife needs to help him in organizing
             his responsibilities and taking care of legal issues. Memory is impaired
             but stable. . . . He takes carbidopa/levodopa 25/100 2 tablets only 2
             times a day at 8 am and 8 pm, and he typically forgets his 2 pm dose.



    49
         Baylor College of Medicine, p. 54.
    50
         Transcript of deposition of Norman Thomas Barras, Jr., in Cox Automotive, Inc., et al., v.
         the Reynolds and Reynolds Co., 4/15/21 [redacted], pp. 10, 25-26, and 28.
    51
         Transcript of deposition of Norman Thomas Barras, Jr., in Cox Automotive, Inc., et al., v.
         the Reynolds and Reynolds Co., 4/15/21 [redacted], pp. 51-54.
    52
         Transcript of deposition of Norman Thomas Barras, Jr., in Cox Automotive, Inc., et al., v.
         the Reynolds and Reynolds Co., 4/15/21 [redacted], pp. 52 and 54-55.
    53   Transcript of deposition of Robert Schaefer in Cox Automotive, Inc., et al., v. the
         Reynolds and Reynolds Co., 3/18/21 [redacted], pp. 60-61.




                                                                                              PDA-0000051

Ex. 83, p. 27 of 45
             There is no neurological complaint. He has slowness, stiffness, and
             gait imbalance. He lacks energy and is inactive. He denies recent
             headache, dizziness, weakness, confusion, dysarthria, dysphagia.



             They are in the process of moving to the River Oaks area closer to
             their son.



             MS: He is alert and attentive. 0 x person, place, and time. He follows
             complex verbal commands. Memory is 4/4 immediate -> 0/4 delayed.
             Comprehension and expression are slower. Insight and judgment are
             m ildly impaired. MoCA score (1/8/2020) = 20/30.



             Clinical findings are consistent with Parkinson's disease with mild
             cognitive impairment. He is under a lot of stress trying to still run his
             company by himself, and his wife is also stressed out. He has signs of
             m ild cognitive impairment and peripheral neuropathy with gait
             i mbalance. Neurological and cognitive examinations are without
             notable change from last visit.'

    3/12/21

    A PET brain metabolic evaluation ordered by Dr. Darby and conducted on 3/12/21
    was given this interpretation, echoing the clinical history of dementia with Lewy
    bodies and Altzheimer's disease with early onset on which the neuroradiologist
    evidently relied:

             Findings are very mild, but suggestive of early neurodegenerative
            disease, either early Alzheimer's disease or dementia with Lewy bodies
            (Parkinson's disease with dementia). Findings are unlikely to
             represent frontotemporal dementia.'

             COMMENT: This interpretation of ambiguous "very mild" findings
             would appear to have been biased by the interpreter's foreknowledge
             of prior diagnoses of dementia, a phenomenon known as confirmation
             bias.

    4/29/21




    54   Houston Methodist, pp. 30-32.
    55   PET Brain Metabolic Evaluation, Houston Methodist Hospital, 3/12/21.




                                                                                         PDA-0000052

Ex. 83, p. 28 of 45
    A sleep study ordered by Dr. Darby and conducted on 4/29/21 documented severe
    obstructive sleep apnea but no evidence of REM behavior disorder; the duration of
    REM sleep may have been too short (29.5 minutes) to provide an adequate sample.
    Ruckshanda Majid, MD, recommended CPAP titration and a repeat study.56

             COMMENT: Severe obstructive sleep apnea is a treatable condition
             associated with premature death, daytime drowsiness, and impaired
             mental functioning. The repeat sleep study has been twice scheduled
             and twice cancelled because of hospitalizations for sepsis.

    5/5/21

    When interviewed by Dr. Darby on 5/5/21, Dorothy Brockman reported that her
    h usband had memory problems consistent with those she had reported to treating
    doctors previously, and she stated that she had taken over management of his
    medications and the couple's finances. She described his having had a precipitous
    decline when he discovered the government was investigating. She had not
    observed clear fluctuations in her husband's mental functioning. She described her
    h usband kicking her during sleep, for which he was prescribed Trazodone 4-5 years
    previously, with some kicking thereafter. Asked about hallucinations, she said they
    usually came out at doctors' offices when he sees movement of "a spec of dust."
    She reported having seen Dr. Beth Yudofsky for back pain.57

             COMMENT: Mrs. Brockman's reports about her husband's sleep
             behavior are the sole basis for a diagnosis of a REM sleep disorder, as
             the only objective measurement (the sleep study) was inadequate in
             d uration and did not support this diagnosis. Moreover, Mrs.
             Brockman's description provided only weak support for this diagnosis.
             Likewise, her description of hallucinations at doctors' offices,
             a pparently based a single event during an evaluation by Dr. York, is
             i nadequate to support a finding that he has suffered hallucinations
             when not delirious. Mrs. Brockman's explanation of why she saw Dr.
             Beth Yudofsky is contradicted in Mr. Brockman's personal writings,
             which give markedly different reasons for that long-standing treatment
             relationship.

    5/31/21

    Records from Houston Methodist Hospital indicate that Mr. Brockman presented
    there on 5/31/21 with signs of a urinary tract infection and confusion. A note on
    that date reads in pertinent part:

             Pt is unable to provide much history due to altered mental status,
             though his family who is at bedside was able to assist. Yesterday
             morning, they noticed he was more tired and had taken a nap. Later

    56   Polysomnography Report, Memorial Hermann Hospital Texas Medical Center, 4/29/21.
    57   Dr. Darby's notes of his interview of Mrs. Brockman, 5/5/21.




                                                                                        PDA-0000053

Ex. 83, p. 29 of 45
             on, he began saying things that didn't make sense, in addition to not
             eating very much, and staring off blankly. This prompted them to bring
             him to HMH for further evaluation. . . .

             Per chart review, pt was hospitalized from 3/15/21-3/19/21 at HMH
             with Klebsiella pneumoniae growing in his urine and blood cultures for
             which he was treated with Cefazolin and discharged home on
             Ciprofloxacin. . . .

    Results of neurological examination were described: "Alert, talkative, though
    answers to questions don't make sense."'

    6/6/21

    On 6/6/21, geriatric consultant on Sarah E. Seleck, MD, noted:

             . . . he was alert but oriented and easily distracted today. His wife
             gives a history of PD going back >5 years and consideration for
             dementia > 1 year who has had significant decline with each of last
             two urine infections and now has been agitated in the hospital. He
             was started on Seroquel 50 (100mg was ordered but discontinued).
             Today he is direct-able but inattentive. His familiar caregiver and wife
             are present.

             I would recommend consideration of starting his home meds for sleep
             and constipation and decreasing the Seroquel to 25mg or lower as he
             sounds to be improving with aim of decreasing the low potential for
             producing extrapyradmidal side effects esp since wife says no auditory
             nor visual hallucinations at home.59

    6/7/21

    On 6/7/21, psychiatric consultant Inna D'Empaire, MD, noted:

             . . . The pt has had intermittent agitation including last evening when
             he was attempting to hit staff and climbing out of bed, ultimately
             falling, worsening confusion in the evenings, including visual
             hallucinations. Psychiatry asked to consult for agitation.

             The pt is seen and evaluated. He is pleasant and calm but confused.
             He does not recognize his home care giver at bedside and does not
             recognize that he is in the hospital. He tells us that he was some
             place else last night. Denies pain. Reports having visual
             hallucinations, seeing "black things" that move that he tries to swat
             and he is not able to convince his wife Dorothy that they are present.

    58   Houston Methodist, 2nd production, pp. 3-5.
    59   Houston Methodist, 2nd production, p. 15.




                                                                                        PDA-0000054

Ex. 83, p. 30 of 45
             Wife states that prior to his admission in March, he was independent in
             ADLS but now is dependent in all ADLS and IADLS. He has a caregiver
             i n the home during the day and the wife assists at night. . . .60

    A CT scan of the head on 6/7/21 ordered for minor head trauma [the fall, in an
    elderly man taking an anti-coagulant] was read as an "Unremarkable CT of the
    head with no evidence of acute hemorrhage or mass effect."61

    6/11/21

    M r. Brockman was reportedly discharged from Houston Methodist Hospital on
    6/11/21, 62 but records of his hospitalization and discharge subsequent to
    6/7/21 have not yet been received for review.

    EXAMINATION

    At the outset of the interview of Mr. Brockman on 5/18/21, he was informed as to
    the identities of the examiners, the retaining party, the lack of confidentiality, the
    a bsence of a treatment relationship, and the forensic purpose. He was told that he
    was free to ask for a break or to speak to his attorneys at any time and was told
    the expected schedule for the day. He was reminded of these on 5/20/21, as well.

    M r. Brockman arrived each interview day on time, in casual clothing, and in the
    company of his caretaker.

    For nearly two full days of interviews, Mr. Brockman demonstrated himself to be an
    i ntelligent, charming gentleman who consistently espoused placing high value on
    hard work, saving, family, loyalty, stewardship, and other traditional conservative
    and Protestant values. He credited his maternal grandmother with having taught
    him to work, save, and build.63 He credited his maternal grandmother and his
    mother with sparking his subsequent philanthropy.64 Asked to describe charities he
    had favored over the years, he mentioned wounded military veterans, major
    projects at Rice University, the church, a scholarship program at Texas A&M.65
    Asked if there were others, he replied, "There's ben—there's been some other
    lesser contributions in the—in the medical—in the medical center. I'm trying to



    60
         Houston Methodist, 2nd production, p. 23.
    61
         Houston Methodist, 2nd production, p. 28.
    62
         E-mail from Kathy Keneally to Corey Smith, et al., re. "US v. Brockman: update on
          m edical issues," 6/17/21.
    63
         Transcript and video of Dr. Dietz and Dr. Denney's i nterview and examination of Mr.
         Brockman, 5/18/21, pp. 11-12.
    64
         Transcript and video of Dr. Dietz and Dr. Denney's i nterview and examination of Mr.
         Brockman, 5/18/21, pp. 65-66.
    65   Transcript and video of Dr. Dietz and Dr. Denney's i nterview and examination of Mr.
         Brockman, 5/18/21, pp. 66-68.




                                                                                                PDA-0000055

Ex. 83, p. 31 of 45
    think. There's—that's not all, but that's—that's principally all of it."66 In a later
    i nterview, he continued to minimize his contributions to Baylor Medical College:

             PD: If I understand correctly, you have helped fund Dr. Yudo—Dr.
                Yudofsky's research program and his programs at Baylor?

             RB: I have not. You know, the trust has.

             PD:The trust has?

             RB:Uh-huh [affirmative].

             PD: And I noticed that you didn't mention Baylor in the list of charities
                that you provided on Tuesday, and it wasn't on the list that you
                supplemented yesterday either. Is there a reason you didn't
                 mention Baylor?

             RB: No, I just—you know, to be asked cold, you know, everything
                that's happened over a number of years, that one I didn't—that
                 part I didn't get right.

             PD: How much overall have you given to Baylor Medical, or the trust?

             RB: I'm —I don't know just on a flatfooted basis how much, but I would
                 believe it would be probably in the million dollar range.

             PD:In the million dollar range?

             RB:Uh-huh [affirmative].

             PD: Could it be in the 30 million dollar range?

             RB:I don't think so. I think that that number's too big.67

    He spoke disparagingly only of those he regarded as immoral, lazy, parasitic, or
    stupid and the cooperating witness he described as having betrayed him and/or
    stolen from him or the Trust.

    He spoke intelligently about abstract business concepts, providing cogent
    explanations of management processes." He acknowledged remaining in contact
    with his successor as CEO of Reynolds and Reynolds Company, and said he


    66
         Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, p. 68.
    67
         Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/20/21, p. 80.
    68   Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, pp. 52-54.




                                                                                               PDA-0000056

Ex. 83, p. 32 of 45
    continues "in an advisory relationship in that he talks about things, and I give him
    m y opinion, and he does what he wants."'

    His remote memory was superior to the extent this could be judged or validated.
    For example, he mentioned his father's training on the precise, mechanical Norden
    Bombsight during World War II,7° and his description is consistent with that of
    historical sources.71 He described his paternal grandfather's invention of the
    Brockman Electric Doormat during the Depression,72 and records from the United
    States Patent Office indicated that an application for a patent on an Electric Mat
    Switch was filed on 12/5/27 by Robert H. Brockman and Patent No. 1,776,992 was
    granted on 9/30/30.73 He also said his paternal grandfather invented the
    differential used in all automobiles and that he had the original patent dated
    1905,74 and records from the United States Patent Office indicated that an
    a pplication for a patent on a Differential Gear was filed on 7/27/04 by Robert H.
    Brockman and Patent No. 808,002 was granted on 12/19/05.75

    With respect to short-term memory, he occasionally lost his train of thought76 (but
    also recalled what we had been speaking about after a break77)and had word-
    finding difficulty.78 In describing his medical history, he volunteered that three
    doctors had diagnosed him with dementia, the context of which is shown in this
    exchange:

             RB:Yeah, okay. I didn't remember the name. And then they get all
                the equipment laid out including the cyst—the cystoscope itself.
                And so when Seth Lerner walked in his first thing —his first words
                are,"How are you doing, Bob?" And I said,"Well, really not worth
                a crap. I'm —I'm not feeling good." He said, "Well, when I get—
                when we get done with this, let me talk to you about this." So the

    69
         Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, p. 54.
    7°   Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, p. 6.
    71
         https•//www maxwell af miliNews/Display/Article/420450/the-enigma-of-the-norden-
          bombsight/;         www.                            -et-wea
         tgmbsight,ht.ch; htte://www.twinbeech.cominorden bombsight.htm.
    72
         Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, pp. 13-14.
    73
         http5.11.p.gg.nt5Agg.g.1 ...c.c.rnip.gg.nt/11517709.92.
    74   Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, p. 14.
    75
         https://patentimages.storage.googleapis.com/W77/56/d67b217d85dcd2/US808002.pdf.
    76
         Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, pp. 20 and 59; Transcript and video of Dr. Dietz and Dr. Denney's
         i nterview and examination of Mr. Brockman, 5/20/21, p. 87.
    77
         Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/20/21, p. 48.
     8
    7    Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, pp. 44 ("sepsis"), 46 ("Asperger's"), 62 ("sepsis"), 68 (name of the
         architect who built the opera hall at Rice University), 75 ("Parkinson's").




                                                                                           PDA-0000057

Ex. 83, p. 33 of 45
              cystoscopy proceeded uneventfully and then after as I was getting
              dressed I'm —I stopped and talked to him and he said, "I—there's
              a —a doctor that you need to go see here. His name is—his last
              name is Poole, P-0-0-L-E. You need to go talk to him." So I
              made an appointment, went to see Dr. Poole and he said —there
              was a lot of hmmm, and you know, note taking and —as I
              described everything. And he said, "I've got a couple other
              doctors I think you need to see." And I don't remember their
              names, they're in obviously my medical records. But I went to see
              them and they said, "Well, we got some more tests that we would
              like you to take." And so I —you know, did the tests and that's
              where I first started being diagnosed with Parkinson's. And each
              one of those docs that he sent me to, they put me through more
              tests. And interestingly enough, you know, one—you know, not
              just one doctor but several doctors came back with a test that said
              I had dementia. And I never heard of that. And—

           PD:You hadn't heard of dementia before?

           RB: No. Except in —in the—you got people that are crazy or stupid or,
               you know, they're somehow, you know, diseased and, you know,
               not productive. But a person like me, I have never heard of
              somebody like that, you know—you know, getting the dementia
               reading. But all of them agreed. I think there were three doctors
              that did the—the initial, you know, studies on, you know, three
              different occasions. And that's obviously, you know, worrisome.
              You know, because in the business I'm in, if you don't have 100%
              of your faculties you can't lead. And matter of fact, everything you
              do becomes suspect. Not only to yourself but also to the people
               who work around you that, you know,"Some—something's
               happened to Bob, he's not as sharp as he used to be." And I begin
              to recognize that in my ability to deal with names, that's where it
              all started. You know, I could be introduced to somebody, I have
              their name and in ten seconds it's gone, which is aggravating. You
               have to enlist help. In my case my wife helps, you know, do a
               better job at keeping track of people, you know, than I did or I
              could. And that I —I found myself still able to talk very well but
               when it came to actually doing the work, you know, doing the
              spreadsheets and the forecast, all the accounting analysis reports,
              all the kind of stuff that, you know, top management, you know,
               has to—has to be involved in. I was having trouble, you know,
              just took me much longer, you know, two times, three times, four
              times longer to do something. And —or to do anything at all. And
               m y wife said, "I know what your problem is." I said, "Well good,
              tell me." She said,"You have task initiation problems." I said,
              "What?" She says, "Look at your desk." I have a 10x10 desk that
              I sit in the middle of. You know, the front piece is ten feet and it's
               like five feet that way. She says,"You can't see your desk. It's




                                                                                       PDA-0000058

Ex. 83, p. 34 of 45
               covered with paper." And other than make just, you know,
               repeated efforts, there was no way to deal with that. And over the
               last couple years I've had a hard time getting stuff done. And
               again, I can still talk a pretty good game but when you're working
               with people who really know they're in the guts of stuff, you know,
               software design, software development, specific projects, it's hard
               to effectively lead when you're in that situation. And unfortunately
               the—I think the most recent set of tests, they pegged me at 10%
               i nstead of five. By any stretch that's the wrong direction. But—
               and I'm not sure what it was, you know, about how I handled, you
               know, the test that caused the—you know, the grade to slip.

           PD:So do you know what that's a rating about?

           RB: I—I don't understand the—the—the medical, you know, part of
              that—that diagnosis. Other than it's not good. . . .79

    Asked what changes he recognized to himself after his hospitalization for sepsis, he
    replied,"My memory has gotten markedly worse."8° He elaborated:

          I was at one point in time a pretty good typist and I could type a letter
          without writing it in longhand first and was pretty efficient at that.
          And —but now what happens is I start to type something and almost
          i mmediately the spell checker says something's wrong and I gotta go
          figure out what—what I need to do differently to get it to pass spell
          check and —and it's not just spell check it's formatting, you know, the
          kind of stuff that's not spelling related. Whether or not you use
          i ncomplete sentences or something, you know. And so my—my
          productivity as far as communications has gone in the dirt. Because
          you know, this—the process that he's doing, you know, so wonderfully
          [referring to Dr. Denney inputting notes on a laptop] I can't—I can't do
          that anymore. You know, same with —same with people's name,
          telephone numbers, you know. A six-digit telephone number I used to
          be able to look at one and then key it into my—my phone system or
           m y e-mail system, whatever it took to look up the person. Now what I
          have to do is—is I can look at a six-digit telephone number, I take two
          digits, and I can remember that long enough to type it in. But then I
          gotta go back and get the second two digits and the third two digits,
          each one of them separately, and I have to do that not only on
          telephone numbers but, you know, God forbid social security numbers,
          account numbers at—at, you know, various vendors. And again, I talk
          a pretty good game, okay, but when it comes to actually getting things
          done I'm a shadow of what I used to be. And slowly folks in the


    79 Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
       Brockman, 5/18/21, pp. 77-78.
    80 Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
       Brockman, 5/18/21, p. 82.




                                                                                             PDA-0000059

Ex. 83, p. 35 of 45
             company have—have been becoming aware, which is one of the
             reasons why I decided to retire first of the year.81

    Asked if he thought any of the problems he'd described remembering names or
    n umbers could simply be related to aging, he responded wisely, "I'm not an expert
    i n that area so anything that I would say would be supposition based on no facts."82
    Asked to describe other cognitive problems, he described misplacing his cell
    phone,83 and on further questioning said he had trouble remember the names of a
    thousand components of a PC, did not know how to use everything on his smart
    phone, and had difficulty troubleshooting his wife's iPad.84 Although he can write e-
    mails, he complained of difficulty remembering passwords for all of the electronic
    devices in the house.85 After a recent move to a new house, he sometimes made a
    wrong turn in trying to go from one room to another." He commented that "I've
    had sufficient problems with keeping up with my medicine, but my wife has totally
    taken over."87 He also complained of difficulty initiating and completing projects
    and keeping up with paperwork, and he volunteered that his wife had taken over
    power of attorney for him.88

    In contrast to these reported deficits, he indicated that he keeps up with news
    a bout River Oaks Country Club through his buddies, decided which of his cars to
    sell and knew how the transactions had been accomplished, knew the current
    owners of the jet and yacht he formerly used and the current trustee of the Eugene
    Brockman Charitable Trust, voted in the 2020 election, continues to write checks,
    and continues to have access to his firearms, stored at multiple locations."
    Although he did not recall the names of the companies, he was aware of recent
    news stories about cybersecurity breaches and was able to describe a recent
    ransom payment and recognized the market potential for software solutions (an
    i ndustry in which he had made an unsuccessful investment),90 consistent with the

    81
         Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, p. 83.
    82   Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, p. 85.
    83   Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, p. 86.
    84   Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, p. 99.
    85
         Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, p. 102.
    86   Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, pp. 92-93; Transcript and video of Dr. Dietz and Dr. Denney's
         i nterview and examination of Mr. Brockman, 5/20/21, pp. 43-44.
    87
         Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/20/21, p. 35.
    88
         Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/20/21, pp. 36-38.
    89
         Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/20/21, pp. 55-67.
    90   Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, p. 98.




                                                                                               PDA-0000060

Ex. 83, p. 36 of 45
    observation of Mr. Brockman reading a newspaper over the lunch break. He was
    a ble to give an adequate definition of "confabulation" and said that his son thinks
    he does that, but he does not.91

    Asked when he experienced the onset of depression, he connected this to "tax
    issues," began to describe those issues, but limited his disclosures:

             PD:Your medical records mention depression and I want to ask you
                a bout that. When would you say you first experienced depression?

             RB: Just in the last couple years. And really it all boils down to the tax
                 issues.

             PD:To the tax issues?

             RB:To the tax issues. And that's a terrible mess.

             PD:So before that, you weren't depressed?

             RB: No, I was busy.

             PD: And then what was it that came to your attention that caused you
                to see there was a mess?

             RB: Well, I—I don't understand all the legal ins and outs of taxation.
                 I—I should've had a much better lawyer which would've, you
                 know, undoubtedly given me different advice than that which I
                 got. And that's gonna take a long time to—to, you know,
                straighten out.

             PD: What was the first indication you had that there was a problem?

             RB: It happened I think now almost four years ago. Some of the
                 people that I did business with came under IRS scrutiny. And
                that's when that part of my life started getting a lot more
                 attention. And it's pretty obvious it's gonna be years before all
                that gets sorted out. Every week something new, you know, gets
                 discovered. Recently there's been a lot of knowledge come about
                 regarding the people that I did business with that's not pleasant.
                They're tax attorneys, they're—basically been indicted with all
                 kinds of malpractice and —you know, advising clients, preparation
                 returns, that sort of thing. And I —I don't think all of it has come
                 out yet.

             PD:So some tax lawyers that you relied upon have gotten in trouble?

    91   Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, pp. 102-103.




                                                                                               PDA-0000061

Ex. 83, p. 37 of 45
             RB:Uh-huh, yeah. With very high profile folks. I consider myself very
                low profile. But one of the people that they were involved with is
                very high profile, a black man by the name of Robert Smith.

             PD:Uh-huh.

             RB: And Robert Smith has got some real issues. And —which is a
                shame because I like the guy. He sees things a lot the way I do
                 and he—he's a fisherman, you know, brilliant guy. And where he's
                 most brilliant is in a room full of people, half of which are ladies.
                The ladies all love him. They think he's wonderful. My wife does,
                 or did. And of course a lot of that is in the news, you know, it's a
                 matter of record.

             PD:Yes. So you indicated some people that you did business with
                were falling under IRS scrutiny. What was the first of those that
                came to your attention?

             RB: I think it was Carlos Kepke. . . .

             PD:So, and I'm asking because I want to date the onset of depression,
                which you said came after the IRS troubles.

             RB:Uh-huh. Yeah, because al l we're supposed to be talking about is
                m y condition, you know, not about the case itself.

             PD:Yeah. So—

             RB: And we've—we've kind of, you know, veered off the side of the
                 road a little bit.

             PD:That's why I'm bringing you back to depression and when that
                started.92

    M r. Brockman takes Wellbutrin—which he calls his "happy pill"—for depression, and
    i nitially said it was first prescribed by Dr. Yudofsky93 [Mrs. Brockman thought so,
    to°94] but later said it had been prescribed by Dr. Pool and that Dr. Yudofsky had
    prescribed medication to help him sleep.95



    92   Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, pp. 103-105.
    93
         Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/18/21, p. 107.
    94
         Dr. Darby's notes of his interview of Mrs. Brockman, 5/5/21.
    95   Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/20/21, p. 78.




                                                                                               PDA-0000062

Ex. 83, p. 38 of 45
    Asked about thrashing, kicking, or hitting during sleep, Mr. Brockman said he was
    told of this and "I think the incidents occurred probably over a couple month
    period" and that this was "several years ago."96

    The second day of interview began with Dr. Denney questioning Mr. Brockman
    a bout the elements of the Dusky standard of trial competence, during which Mr.
    Brockman displayed an adequate understanding of the charges against him, the
    roles of trial participants, courtroom procedures, and his rights.' He stated that he
    was able to share information and potentially beneficial facts with his counsel,
    whom he praised and in whom he expressed confidence, and he did not expect any
    problems in sharing details with his attorneys about the allegations in the
    i ndictment." Later in the day, Mr. Brockman also stated and demonstrated that he
    would be able to inform his attorneys about his relationships with Evatt Tamine and
    Robert Smith, and he demonstrated a rational understanding and intact memories
    for various elements of the allegations in the indictment about which he was asked
    general questions.99 He denied difficulty dealing with his lawyers or having
    significant problems recognizing documents he'd been shown:

           PD:Is there anything you're having difficulty dealing with your lawyers
              a bout?

           RB: No.

           PD: Have they shown you documents that you don't recognize?

           RB: Not a lot, but that—that has happened.

           PD: But most of the time you recognize the documents and understand
               where they came from?

           RB: Well, theoretically yes, but go through questions like, you know,
               you're raising. That means the word "all" cannot be used.

           PD: Sure. Do you recall any times it concerned you that you didn't
               recognize something, didn't know where it came from?

           RB: I'm sure that's happened, but I —I—I don't remember a specific
               i nstance.in

    96  Transcript and video of Dr. Dietz and Dr. Denney's interview   and examination of Mr.
        Brockman, 5/18/21, pp. 110-111.
    97
        Transcript and video of Dr. Dietz and Dr. Denney's interview   and examination of Mr.
        Brockman, 5/20/21, pp. 3-41.
    98
        Transcript and video of Dr. Dietz and Dr. Denney's interview   and examination of Mr.
        Brockman, 5/20/21, pp. 20-22, 25-27, and 30-31.
    99
        Transcript and video of Dr. Dietz and Dr. Denney's interview   and examination of Mr.
        Brockman, 5/20/21, pp. 99-126.
    100 Transcript and video of Dr. Dietz and Dr. Denney's interview   and examination of Mr.
        Brockman, 5/20/21, pp. 127-128.




                                                                                                PDA-0000063

Ex. 83, p. 39 of 45
    Mr. Brockman sought to limit disclosures that he thought went beyond the limited
    purposes of a competency examination, though his understanding of those limits
    was unsophisticated, as in these examples:

           RD:What have they charged you with?

           RB: I think that's, you know, beyond the scope of what I'm supposed
              to be talking about. That—that doesn't have anything to do with
               m y competence.101



           RD:Okay. So there's been—there's been information that should've
              remained private that's been released to the public?

           RB:Yeah. Well, the idea, you know, you're not innocent—the part
              where you're not guilty. I'm really saying that wrong. You're
              supposed to be innocent until proven guilty. And that's not at all
              the situation that I'm in. Which I'm surprised at, but evidently
              things have changed over the years.

           RD:Help me understand why—what is it that makes you feel that way?

           RB: Again, I—I think we're going off into an area of discussing my
              case, which we're not supposed to be doing.102



           RD:Would there be any—this is a conceptual kind of question, would
              there be any situation in your mind, in your awareness at this
              point, of a potential situation where you would entertain a plea
              bargain if—if they could like get the prosecutors to accept it and if
              it was—provided something good for you? I don't know.

           RB: Well, I think that's a question that applies to my case and that's
               not something I'm supposed to be talking about.103




        Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
        Brockman, 5/20/21, p. 3.
    102 Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
        Brockman, 5/20/21, p. 5.
    103 Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
        Brockman, 5/20/21, p. 25.




                                                                                              PDA-0000064

Ex. 83, p. 40 of 45
           RD:Okay. What—what gave them —or what gave them pause or
              concern regarding your competence, do you have any idea what?

           RB: Again, I don't think that's something —that's very, very specific to
               m y case and I don't think we're supposed to be talking about that.

           RD:Okay. Well, let me rephrase that, and maybe I won't be so
              pointed. I don't mean to be pointed like that. Some—somebody's
              concerned about your competence. What sort of things have come
              u p that would make your competence at risk?

           RB: Again, I don't think I can answer that without going—

           RD:Okay.

           RB: —over the line.'



           RD:Is there any particular individual that you're concerned about that
              would be likely to lie about you or?

           RB: Again, I think that that gets into the specifics of the case.1°5

    I mmediately after having demonstrated adequate competence to stand trial, Mr.
    Brockman offered his opinion that he was not competent to stand trial and had only
    limited ability to assist his attorneys.106

    In marked contrast to his overall performance during prolonged interviews, Mr.
    Brockman displayed some dramatic abnormalities. The first example of this was
    when, on the second day of interview, he twice reported that his first hospitalization
    for sepsis was in August and said he did not recall who had administered tests to
    him the preceding day [Dr. Denney, who was questioning him when he said this].1°7
    He also displayed dramatic abnormalities during mental status examination, which
    resembles testing in that it obviously seeks to test mental function. The two most
    dramatic examples of this occurred when I transitioned from asking Mr. Brockman
    a bout his business to formal mental status examination and he seemed unable to
    name the President of the United Statesim and when I transitioned from questions

    "
    1 Transcript and video of Dr. Dietz     and Dr. Denney's interview and examination of Mr.
        Brockman, 5/20/21, p. 29.
    105 Transcript and video of Dr. Dietz   and Dr. Denney's interview and examination of Mr.
        Brockman, 5/20/21, p. 33.
    106 Transcript and video of Dr. Dietz   and Dr. Denney's interview and examination of Mr.
        Brockman, 5/20/21, p.40.
    107 Transcript and video of Dr. Dietz   and Dr. Denney's interview and examination of Mr.
        Brockman, 5/20/21, pp. 38-42.
    "
    1 Transcript and video of Dr. Dietz     and Dr. Denney's interview and examination of Mr.
        Brockman, 5/20/21, pp. 89-90.




                                                                                                PDA-0000065

Ex. 83, p. 41 of 45
    about entities named in the indictment to asking him again to name the
    President.1°9 The many examples of this include, without limitation, giving the date
    as 8/21/21 after having stated it correctly hours earlier; maintaining he would not
    know how to direct a taxi to his home because he did not know the address; and
    performing remarkably poorly in naming past presidents, spelling "world"
    backwards, subtracting serial sevens, subtracting serial threes, naming capital
    cities, and naming the Governor of Texas.11°

     He denied any psychotic symptoms, including auditory or visual hallucinations, and
     he disputed Dr. York's account of his having hallucinated a bug on the floor.111

    FINDINGS AND OPINIONS

     M r. Brockman's claim of trial incompetence rests largely on the opinions of Baylor
    clinicians who have treated him and some observations of defense counsel. With
    respect to the observations of clinicians one should note that psychiatry has long
    recognized problems related to the evaluation and treatment of VIPs with
    psychiatric impairment, as recognized in the 1973 report of the Group for the
    Advancement of Psychiatry112 and subsequent publications. Among the concerns
    voiced in the literature are that a patient's VIP status could lead to requests for "a
    wealthy donor to be seen more quickly"113 and "might trigger a loss of
    objectivity.”114 One must question, for example, whether Dr. Pool's 11/14/18 and
    11/18/19 referrals of Mr. Brockman to Dr. York as a "VIP Dr. Pool patient" and for a
    "VIP CAPACITY EVAL"115 or other information provided by colleagues or
    administrators about Mr. Brockman's contributions to the Baylor College of Medicine
    could have biased her evaluation or those of others who took his and his family's
    reports regarding his functioning at face value.

     Malingering is defined in the Diagnostic and Statistical Manual of Mental Disorders,
    5th
        CU (DSM-5) as "the intentional production of false or grossly exaggerated



    109 Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/20/21, p. 126.
    110 Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/20/21, pp. 43-45 and 89-94.
    111 Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
         Brockman, 5/20/21, pp. 96-97.
    112 Committee on Government Agencies, Group for the Advancement of Psychiatry: The VIP
         with Psychiatric Impairment. New York: Charles Scribner's Sons, 1973.
    113 Gainer D, Cowan AE (2019): The very important patient. Innovations in Clinical
         Neuroscience 16(7-8): 25-28.
    114 Alfandre D, Clever S, Farber NJ, Hughes MT, Redstone P, Lehmann LS (2016): Caring
        for 'very important patients'—Ethical dilemmas and suggestions for practical
         m anagement. American Journal of Medicine 129(2):143-147; Gainer D, Cowan AE
        (2019): The very important patient. Innovations in Clinical Neuroscience 16(7-8):25-
        28; Avery J, Knoepflmacher D, Mehta N, Penzner J (2016): VIP patients: An
         u nexpectedly vulnerable population, in Parekh R, Childs EW (Eds.): Stigma and
        Prejudice: Touchstones in Understanding Diversity in Healthcare. Switzerland: Humana
        Press, pp. 103-111.
    115
        Baylor College of Medicine, pp. 196-197 and 787.




                                                                                       PDA-0000066

Ex. 83, p. 42 of 45
    physical or psychological symptoms, motivated by external incentives such as . . .
    evading criminal prosecution . . ."118 According to DSM-5:

          Malingering should be strongly suspected if any combination of the
          following is noted:

           1. Medicolegal context of presentation (e.g., the individual is referred
              by an attorney to the clinician for examination, or the individual
              self-refers while litigation or criminal charges are pending).

           2. Marked discrepancy between the individual's claimed stress or
              disability and the objective findings and observations.

           3. Lack of cooperation during the diagnostic evaluation and in
              complying with the prescribed treatment regimen.

          4. The presence of antisocial personality disorder.117

    The two main bases for suspecting malingering in this case are that Mr. Brockman
    presents in a medicolegal context and evidences a marked discrepancy between his
    claimed disability (in test performance) and objective observations of his function
    as CEO and in his speeches, testimony in civil suits, and performance in interviews
    when not being obviously tested.

    Less significant is that he did not comply with the guidance of Dr. York to work on
    jigsaw or crossword puzzles or use a dry erase board 118 and memory station, which
    he denied using at his current home,118 or the guidance of Dr. Pool to avoid
    u nfamiliar environments or changes in routine. On 11/25/20, James L. Pool, MD,
    signed a declaration stating that "Unfamiliar environments, stimulating
    surroundings, and changes in routine would be especially stressful for a person with
    M r. Brockman's diminished capacity, creating a risk to his existing cardiac
    condition, and could exacerbate the overall progression of his symptoms.”120 yet
    some nine weeks later, on 2/1/21, Dr. Eugene C. Lai, MD, noted that Mr. and Mrs.
    Brockman "are in the process of moving to the River Oaks area close to their
    son."121



    116 American Psychiatric Association: Diagnostic and Statistical Manual of Mental Disorders,
        5th Ed. Arlington, VA: American Psychiatric Association, 2013, at p. 726.
    117 American Psychiatric Association: Diagnostic and Statistical Manual of Mental Disorders,
        5th Ed. Arlington, VA: American Psychiatric Association, 2013, at p. 727.
    118 Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
        Brockman, 5/20/21, p. 53.
    119 Transcript and video of Dr. Dietz and Dr. Denney's interview and examination of Mr.
        Brockman, 5/18/21, pp. 86-87.
    120 Declaration of James L. Pool, M.D., in Support of Robert T. Brockman's Motion to
        Transfer Proceedings, 11/25/20 [Document 49], at para. 10.
    121
        Baylor College of Medicine, pp. 19-21.




                                                                                           PDA-0000067

Ex. 83, p. 43 of 45
    Not yet ripe as a basis for suspecting malingering is that except for the requirement
    of the onset of a conduct disorder before age 15, Mr. Brockman would meet criteria
    for a diagnosis of antisocial personality disorder if the indictment were proved
    correct regarding his repeatedly performing acts that are grounds for arrest, the
    allegations of deceitfulness, and the allegation that he failed to honor financial
    obligations to the United States, for all of which he evidenced a lack of remorse in
    our interview by denying knowledge of wrongdoing and by casting aspersions on
    cooperating witnesses.

    The three pillars of evidence on which I base my opinion that Mr. Brockman has
    malingered the severity of his cognitive deficits in a variety of settings since at least
    1/30/19 are:

    (1) the marked discrepancy between Mr. Brockman's performance when he knows
     his cognitive functioning is being tested and his cognitive performance when
     lecturing, testifying, or speaking in contexts in which his cognitive functioning is not
     being tested;

    (2) the atypical results of formal neuropsychological testing conducted by Dr.
     Denney;

    (3) the onset of apparent deficits during tests of cognitive function only after the
     Bermuda Police Service's raid on Evatt Tamine's Bermuda home on 9/5/18, prior to
     which time Mr. Brockman evidenced only age-related memory deficits, whether or
     not one relies on his personal writings.

    In concluding that Mr. Brockman is exaggerating the severity of his cognitive
    deficits, I am not saying that he has no cognitive deficits. I do not doubt that he
    has some difficulty remembering names, numbers, and passwords, that he
    m isplaces objects, or that the move to a new home and two bouts of sepsis with
    delirium have led to moments of confusion. The diagnostic challenge is to validly
    judge where his cognitive functioning lies on the continuum that ranges from age-
    related memory changes to mild cognitive impairment to mild or moderate
    dementia. Unfortunately, the currently available testing data do not permit a
    definitive quantitative assessment of the severity of Mr. Brockman's cognitive
    i mpairment, if any. Moreover, his purported functional impairments, reported only
    by Mr. Brockman and his closest family members, follow the same time sequence
    as his testing performance, with onset only after the raid on Evatt Tamine's
    Bermuda home and in the context of concerns about an investigation into potential
    criminal activity.

    Based on Mr. Brockman's performance during the May 2021 interviews, I am
    confident that he suffers either age-related memory difficulties or, at worst, mild
    cognitive impairment, in the context of Parkinson's disease. I believe the evidence
    is insufficient to establish dementia from any cause and that the evidence for
    fluctuations in mental state, hallucinations, and REM behavior disorder is
    i nsufficient to bolster a claim of dementia with Lewy bodies even if dementia were
    established. In 2020 and 2021, Mr. Brockman has grossly exaggerated the extent




                                                                                        PDA-0000068

Ex. 83, p. 44 of 45
    of his cognitive impairment whenever he knew he was being tested, on which basis
    I conclude he is malingering dementia.

    Based on the foregoing information and observations, it is my opinion that on
    5/20/21, Mr. Brockman had sufficient present ability to consult with his attorneys
    with a reasonable degree of rational understanding and a rational as well as factual
    u nderstanding of the proceedings against him.

    If you have any questions about the content of this report, please do not hesitate to
    contact me.

    Thank you for the opportunity to conduct this evaluation.

     Respectfully,


    Park Dietz, M.D., M.P.H., Ph.D.
    Clinical Professor of Psychiatry and Biobehavioral Sciences
    David Geffen School of Medicine at U.C.L.A.
    Diplomate, American Board of Psychiatry & Neurology




                                                                                    PDA-0000069

Ex. 83, p. 45 of 45
Gov. Ex. 84
                      GOVERNMENT
                        EXHIBIT

                     4:21-CR-009-GCH
                           No. 84




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     Appendix 1



Ex. 84, p. 21 of 60
      Examination of Robert T. Brockman by Dr. Park Dietz and Dr. Robert Denney
      Case No. 4:21-CR-0009
      October 20, 2021
      Page 1

 1    F:     Good morning. The time is 9:40AM. We are here in the matter of the
 2           United States versus Robert T. Brockman, Case Number 4:21-CR-0009
 3           in the Southern District of Texas. Today we are here for the court
 4           ordered neurological examination of Mr. Brockman to be conducted by
 5           Dr. Park Dietz and Dr. Robert Denney pursuant to 18 USC 4241b.
 6
 7    PD: And for the record, this is not a neurological examination but a
 8        psychiatric and psychological examination.
 9
10    F:     Okay. I apologize.
11
12    RD: Did you say 41d or 41b?
13
14    F:     41b.
15
16    RD: “B.” Okay, very good.
17
18    PD: Mr. Brockman, I’m Dr. Park Dietz and to my right is Dr. Robert
19        Denney. Do you recall meeting with us in the past?
20
21    RB: Yes.
22
23    PD: You remember both of us?
24
25    RB: Yes.
26
27    PD: If you at any time have difficulty hearing either of us, please let
28        us know. We’re permitted to remove the masks to make sure
29        you can hear and—and we can try to speak more loudly if that’s
30        what’s needed. Before we get into any substance, I want to
31        remind you that both Dr. Denney and I have been retained by
32        the government, that is, the prosecutors, specifically the US
33        Attorney’s Office, to evaluate your competence to stand trial in
34        connection with criminal charges that were described in an
35        indictment that is now public. Do you understand that?
36
37    RB: Yes.
38


     Ex. 84, p. 22 of 60
      Examination of Robert T. Brockman by Dr. Park Dietz and Dr. Robert Denney
      Case No. 4:21-CR-0009
      October 20, 2021
      Page 2

 1    PD: We are not here in any treatment capacity or to assist you with
 2        any medical or psychological issues, but rather we’re here strictly
 3        to evaluate you. Do you understand that?
 4
 5    RB: Yes.
 6
 7    PD: And all of the results of our evaluation, including the videotape
 8        that’s being made, reports that I expect we’ll be asked to write,
 9        and any testimony we may be asked to give can be entered into
10        the public record and is not at all confidential. Do you
11        understand that?
12
13    RB: Yes.
14
15    PD: Do you have anything?
16
17    RD: Al—although I would say I think that the mental health
18        evaluations are under seal.
19
20    PD: Yes, so far.
21
22    RD: If I recall correctly, so they’re not gonna be widely disseminated
23        in the public. It’s just they’re not private in terms of your
24        attorneys, the judge, and the prosecuting attorneys and all that.
25
26    RB: I understand.
27
28    RD: That’s my understanding.
29
30    PD: I think that’s correct too, but if we’re asked to testify—
31
32    RD: Oh, we may testify and I don’t know how it—whether the court
33        would open that or not. We have no idea.
34
35    PD: I would assume that if we testify it’ll be public, that the
36        testimony would be.
37
38    RD: Well, we certainly cannot say it won’t be.

     Ex. 84, p. 23 of 60
      Examination of Robert T. Brockman by Dr. Park Dietz and Dr. Robert Denney
      Case No. 4:21-CR-0009
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 1
 2    PD: Correct, that’s right.
 3
 4    RD: Yeah.
 5
 6    PD: So, we tell—tell you all of that to make sure that you’re aware
 7        what the context is. You happen to recall when it was that we
 8        last visited with you?
 9
10    RB: Not exactly. I would think it would be more than a year, maybe
11        not more than two years.
12
13    PD: More than a year, maybe two years?
14
15    RB: Yeah.
16
17    PD: That’s what you said?
18
19    RB:    Yeah, I don’t have any specific recollection. Those are just—
20
21    PD:    You don’t recall what month it was?
22
23    RB:    No.
24
25    PD:    Well, you’ve been through some events since we last saw you and I’ll
26           refresh your memory and tell you that it was in May that we saw you.
27           Do you know what month we’re in today?
28
29    RB:    December.
30
31    PD:    What’s that?
32
33    RB:    December.
34
35    PD:    December? What year?
36
37    RB:    2012.
38
39    PD:    2012? So, today is actually October 20 of 2021, and we saw you in
40           May 2021. Do you accept that as correct?

     Ex. 84, p. 24 of 60
      Examination of Robert T. Brockman by Dr. Park Dietz and Dr. Robert Denney
      Case No. 4:21-CR-0009
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 1
 2    RB:    It’s mostly that I have no records with me. Yes.
 3
 4    PD:    You have no records?
 5
 6    RB:    Yeah.
 7
 8    PD:    I notice you’re wearing a UCS hat. What does UCS stand for?
 9
10    RB:    Universal Computer Services.
11
12    PD:    Do you wear that hat often?
13
14    RB:    This one or I have a number that are identical.
15
16    PD:    You have an identical one, you switch the two?
17
18    RB:    No, I have more than that.
19
20    PD:    Ah.
21
22    RB:    Yeah, prob—probably—probably ten.
23
24    PD:    How are you feeling today?
25
26    RB:    I think I’ve fallen between feeling not wonderful and then not terrible.
27
28    PD:    Not wonderful and not terrible. And how is your wife, Dorothy?
29
30    RB:    My wife Dorothy has taken on a great deal of things that I’m
31           responsible for. And I depend upon her, you know, tremendously now
32           a days, you know, much more so than when we talked last.
33
34    PD:    Do you feel guilty about that?
35
36    RB:    I would say no I don’t.
37
38    PD:    What’s that?
39
40    RB:    No, I don’t feel guilty about that.
41


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 1    PD:    You don’t.
 2
 3    RB:    Yeah. She has been amply provided for over 35 year period that
 4           we’ve been married.
 5
 6    PD:    How long have you been married?
 7
 8    RB:    I think it’s in the 35 to 36 year range.
 9
10    PD:    Do you remember celebrating a 50th anniversary?
11
12    RB:    Yeah.
13
14    PD:    How long would you have been married at your 50th anniversary?
15
16    RB:    I think it’s 53.
17
18    PD:    And how’s your son Robert and his family?
19
20    RB:    Well, that is certainly a very bright spot in that they had one little boy,
21           his name is Zane, that was—and he’s 18 months old now and just a
22           week ago they announced that she was pregnant again. And so, he’s
23           back to—
24
25    PD:    You’re gonna be a grandfather again.
26
27    RB:    Yeah.
28
29    PD:    Are you having any visitors to your home?
30
31    RB:    Yes.
32
33    PD:    Who visits you?
34
35    RB:    We’ve had principally our friends from our old neighborhood.
36
37    PD:    Friends from your old neighborhood come visit you?
38
39    RB:    Yeah, uh-huh.
40
41    PD:    Does anyone from Reynolds and Reynolds come visit you?


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 1
 2    RB:    They have visited, but not in a formal capacity. I have obviously
 3           having worked in the organization for over 50 years, I have friends
 4           that are personal friends.
 5
 6    PD:    Do any of them visit you?
 7
 8    RB:    We—I’m not understanding your question. Yeah, I thought you asked
 9           at first—
10
11    PD:    I may not have heard you properly. But who’s the last visitor you had
12           who works at Reynolds and Reynolds?
13
14    RB:    That’d probably be Tommy Barrus.
15
16    PD:    How often is Tommy visiting now?
17
18    RB:    I would say less and less.
19
20    PD:    Less and less?
21
22    RB:    Uh-huh.
23
24    PD:    Do you know how long ago it was he most recently came?
25
26    RB:    No. It was on a personal basis; it wasn’t a business basis. We both
27           are avid watchers of football and now it’s football season.
28
29    PD:    Now what?
30
31    RB:    And now it’s football season.
32
33    PD:    I’m afraid I can’t hear you.
34
35    RB:    When I saw Tommy Barrus last, we—we watched a football game
36           together.
37
38    PD:    Oh, you watched a football game together.
39
40    RB:    Uh-huh.
41


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 1    PD:    How many caretakers do you have?
 2
 3    RB:    I would say four.
 4
 5    PD:    And who are those four caretakers?
 6
 7    RB:    The principal one is a gentleman by the name of Frank. I’m sorry, I
 8           don’t remember his last name, but he has two sons. And so, that
 9           three-man team, they’re the primary caretakers.
10
11    PD:    Do you know Frank’s last name?
12
13    RB:    Gutierrez.
14
15    PD:    What is it?
16
17    RB:    Gutierrez.
18
19    PD:    Has your old house sold yet?
20
21    RB:    No.
22
23    PD:    So, it’s still on the market?
24
25    RB:    Yes.
26
27    PD:    Have you had some offers?
28
29    RB:    No.
30
31    PD:    Do you meet with the realtors?
32
33    RB:    No.
34
35    PD:    Who does that?
36
37    RB:    Dorothy, my wife.
38
39    PD:    So, the—were the offers too low?
40


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 1    RB:    I would say one was really, really blatantly ridiculous. I can’t say
 2           exactly where the others have been because that real estate is
 3           Dorothy’s projects. Well, I don’t—I don’t get in the middle of them at
 4           all. When asked, I’ll say do I like A better than B or B better than A,
 5           and I’ll think about that and make a—make a declaration.
 6
 7    PD:    What can you tell us about your most recently hospitalization?
 8
 9    RB:    Well, starting kind of from backwards first, since I was basically
10           unconscious a lot of the time, I developed a urinary tract infection
11           which frankly I don’t think we were aggressive enough in—in its
12           treatment because it turned into sepsis, blood poisoning. And I was
13           really sick. I was unconscious for probably the better part of a week.
14           So I’m told, because obviously I was out of it. And I’ve been on very
15           heavy dosages of antibiotics and I guess after three or four weeks of
16           that I seem to have pulled back a lot as far from an infection
17           standpoint. I have done, you know—you know, catheters. I don’t
18           know whether you’ve been fortunate enough to have that experience,
19           but at any rate it—it’s [inaudible 15:46] sharp things and I don’t even
20           want to think about it.
21
22    PD:    Do you still have a catheter?
23
24    RB:    No. I go back in for a follow-up where basically they—they want, you
25           know, blood from the right places so they can run the whole exam
26           again. And so, that comes up here I think in a—in the next couple of
27           weeks.
28
29    PD:    What was the procedure that resulted in your being able to get rid of
30           the catheter?
31
32    RB:    That was antibiotics.
33
34    PD:    Do you remember having a procedure done not long ago? You didn’t
35           have to stay overnight in the hospital, but you had a procedure. Do
36           you remember what it was?
37
38    RB:    No, I don’t.
39
40    PD:    Have you ever heard of a UroLift?
41


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 1    RB:    Yes.
 2
 3    PD:    Are you planning to have a UroLift?
 4
 5    RB:    I think that was done.
 6
 7    PD:    You think it was already done?
 8
 9    RB:    Uh-huh. Yeah, I’m—I’m sure it was already done.
10
11    PD:    I’m having some difficulty hearing you. So, I want to stop for a
12           moment and see if we can find a resolution to that issue. It’s because
13           you’re wearing a mask that I’m unable to hear you. I don’t know if
14           you’re having difficulty Dr. Denney?
15
16    RD:    It—it’s touchy, yeah. It’s—it’s iffy. I’m catching a lot, but not
17           everything.
18
19    RB:    Uh-huh.
20
21    PD:    And we’re told that it’s a requirement of the office that you wear a
22           mask, but I’m gonna see if I can do something about that.
23
24    RD:    I’ll step out and ask.
25
26    PD:    Oh good, alright.
27
28    RD:    [Inaudible 18:21]. You can stay plugged in. Julia’s getting James, is
29           it, to—to talk about options. We mentioned—Eric—Evan and I
30           mentioned if possible. Face masks [inaudible 22:25]. She mentioned
31           well maybe we can move closer.
32
33    [Break]
34
35    RD:    Is your microphone on? I don’t see it.
36
37    PD:    Thank you.
38
39    RD:    Uh-huh.
40


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 1    PD:    So, we had stopped for that issue around 10:00 and it’s 10:20 and
 2           hopefully this problem will now be solved. You’re comfortable with the
 3           shield?
 4
 5    RB:    Yeah.
 6
 7    PD:    Good.
 8
 9    RB:    I’m [inaudible 00:35] wearing one of these things. He said it wouldn’t
10           fog up.
11
12    PD:    It fogs up?
13
14    RB:    No, it—I’ve seen them fog up.
15
16    PD:    Yes.
17
18    RB:    And that would be the principle worry for this type of gear.
19
20    PD:    That’s what happens with my glasses if I wear them with a mask.
21           That’s why I’m not wearing them most of the time.
22
23    RB:    Okay. Well, I’m glad to see that you’re familiar with the phenomenon.
24
25    PD:    Yes. How many times do you believe you’ve been in the hospital this
26           year, 2021?
27
28    RB:    Pardon me if I count on my fingers.
29
30    PD:    That’s fine, you can count on your fingers.
31
32    RB:    My guess would be ten or 12.
33
34    PD:    Ten or 12?
35
36    RB:    Uh-huh.
37
38    PD:    And those are overnight stays?
39
40    RB:    Yes, unfortunately.
41


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 1    PD:    How many times do you think you’ve been hospitalized for Urosepsis,
 2           a urinary tract infection that’s spread?
 3
 4    RB:    I’d say my best guess is one.
 5
 6    PD:    One?
 7
 8    RB:    Uh-huh, yeah. And the reason for—for that number is I—I believe
 9           what’s happened is, is I’ve had the in—infection before but it was
10           cured with a—a light dose of antibiotics. Certainly nothing like what
11           this is all about.
12
13    PD:    Would it surprise you to know that this year you’ve been hospitalized
14           at Houston Methodist three times for Urosepsis?
15
16    RB:    Since a great deal of the time, especially when I’m in the hospital now
17           I’m kind of out of it.
18
19    PD:    Yeah, you are out of it when you go in the hospital. That’s true.
20
21    RB:    So, you know, probably ten plus—maybe three, four, five, six.
22
23    PD:    After you got out of the hospital, were there changes in your life?
24
25    RB:    Yes.
26
27    PD:    What changed since the last time you got out of a hospital?
28
29    RB:    Well, principally I think that, you know, they devoted so much
30           attention and so much antibiotics to me that I got well. Which I hope
31           continues, but I—my next appointment with the doctor is very shortly,
32           I think, you know, a week or two.
33
34    PD:    Did your daily routine change after you got out of the hospital?
35
36    RB:    Yes.
37
38    PD:    What changed?
39
40    RB:    Dramatic loss of energy.
41


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 1    PD:    Dramatic what?
 2
 3    RB:    Loss of energy.
 4
 5    PD:    Loss of energy?
 6
 7    RB:    Yeah. Loss of motivation to, you know, get anything accomplished.
 8
 9    PD:    What’s your typical day like now?
10
11    RB:    Well, probably the most important thing is exercise. I have one of
12           these bicycle-looking kind of things where—where the feet go like that
13           and—and that. That type of equipment is new to me so I may not—
14           I’m not giving it names because I don’t know the names.
15
16    PD:    What else do you do during the day besides exercise?
17
18    RB:    Well, I always read the newspaper.
19
20    PD:    You read the newspaper?
21
22    RB:    Yeah.
23
24    PD:    What are some of the big stories happening in the news these days?
25
26    RB:    Political or otherwise?
27
28    PD:    Let’s start with political.
29
30    RB:    Well, I think that the—the feelings between the parties have if
31           anything worsened and that anything that resembles true cooperation
32           is nonexistent.
33
34    PD:    What are some of the issues that the parties disagree on?
35
36    RB:    I think that the most important one right now is, and that’s the—the
37           massive spending bill. And—
38
39    PD:    How big?
40


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 1    RB:    I think the last time I heard was five trillion, which is—and I’m not,
 2           you know, I don’t keep up with what it’s being spent on. That’s
 3           frankly that’s more than I, you know, than my mind cares to—to deal
 4           with.
 5
 6    PD:    Do you know what Manchin’s position has been?
 7
 8    RB:    Manchin’s?
 9
10    PD:    Manchin. Do you know that name?
11
12    RB:    No. Is it a real estate firm?
13
14    PD:    How about Sinema, do you know that name?
15
16    RB:    How is it spelled?
17
18    PD:    S-E-N-E-M-A [sic], I think.
19
20    RB:    I don’t recognize that name.
21
22    PD:    Are you aware of a Manchin from West Virginia?
23
24    RB:    No.
25
26    PD:    And what else do the parties in congress disagree on?
27
28    RB:    I—I think forever there’s been disagreement over how much money is
29           spent on defense and how much money is spent on other things.
30
31    PD:    Has there been anything in the news recently about the border?
32
33    RB:    Not specifically. I would imagine there’s always something going on
34           about the border, but I’m not aware of it.
35
36    PD:    Is there anything going on at the Texas border with Mexico?
37
38    RB:    Yeah.
39
40    PD:    What’s happening?
41


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 1    RB:    Well, what’s happening is, and that’s that our intake capabilities on the
 2           border are being overrun resulting in lots of people coming in with no
 3           papers and the border control facilities are incapable of keeping up.
 4
 5    PD:    I’m gonna ask you to speak up.
 6
 7    RB:    Okay.
 8
 9    PD:    More loudly. Was there anything recently about a group of people who
10           crossed the border and were gathering under a bridge? Do you
11           remember that?
12
13    RB:    No. I’m sorry, I don’t.
14
15    PD:    What country are people coming from across the Texas border?
16
17    RB:    Well, they—they all—obviously not all, but you know, principally
18           they’re coming from Mexico. You know, they may well have come
19           from some other place prior and then moved into Mexico and, you
20           know, grouped up and then came forward, you know, out of Mexico
21           under the terms of the law that lets them come out at all.
22
23    PD:    Have there been any groups arriving from Guatemala?
24
25    RB:    Yes.
26
27    PD:    How about from Haiti?
28
29    RB:    Yes.
30
31    PD:    How about from the middle east?
32
33    RB:    Not that I’ve heard of.
34
35    PD:    Did something important happen in the middle east recently?
36
37    RB:    Only what I would call a pitter patter of, you know, terrible acts.
38           There’s nothing new going on down there other than what’s been
39           going on all along.
40
41    PD:    Did anything happen in Syria?


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 1
 2    RB:    Not that I’m aware of.
 3
 4    PD:    Or Egypt?
 5
 6    RB:    Not that I’m—not that I’m aware of.
 7
 8    PD:    Or Afghanistan?
 9
10    RB:    Afghanistan, yes. That company has—or that country has opened it’s
11           borders and is taking in a number of people. Actually, I think in some
12           cases they were leaving some of the backup.
13
14    PD:    Do you know how many soldiers we have in Afghanistan now?
15
16    RB:    No. Other than it’s greater than zero.
17
18    PD:    Greater than zero?
19
20    RB:    Uh-huh. What the number is, I don’t know.
21
22    PD:    Have you heard about a committee in congress that’s investigating a
23           big event that happened earlier this year?
24
25    RB:    No.
26
27    PD:    Have you heard of a committee investigating the events at the Capitol
28           on January 6?
29
30    RB:    Yes, I’ve heard—I’ve—I don’t know the specifics, but I’ve heard that
31           there is some investigation going on.
32
33    PD:    And what do you think that’s about?
34
35    RB:    Bearing in mind when I say that I know something about politics,
36           there’s boundaries to that. I don’t know a lot. And I don’t—I don’t
37           know or maybe I never knew—
38
39    PD:    What happened to the Capitol on January 6?
40
41    RB:    You know, basically riots.


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 1
 2    PD:    Have you heard anybody call it something worse?
 3
 4    RB:    No.
 5
 6    PD:    Do you have therapists who come to your house?
 7
 8    RB:    I have—I guess they refer to them as coaches because that’s what
 9           they’re most like. And they’re—I have three, sometimes four.
10
11    PD:    What do they do with you?
12
13    RB:    Well, they have a—a set of calisthenics that involves bending and
14           stretching. And that’s consistently what they—what they work on.
15
16    PD:    Do you know when you’re going to be back in court next?
17
18    RB:    Not specifically. I would guess that it would be sometime before
19           Christmas.
20
21    PD:    Sometime what?
22
23    RB:    Sometime before Christmas.
24
25    PD:    Before Christmas. My understanding is there is a hearing scheduled
26           before Christmas the week of November 15. Do you know what that is
27           about?
28
29    RB:    I don’t specifically, but I would expect that it has to do with going
30           before the judge.
31
32    PD:    Something to do with what?
33
34    RB:    Going before the judge.
35
36    PD:    Something before the judge?
37
38    RB:    Uh-huh.
39
40    PD:    And do you know what the issue is for that hearing?
41


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 1    RB:    Yes.
 2
 3    PD:    What’s the issue?
 4
 5    RB:    Well, the issue is, and that’s that the—the Justice Department believes
 6           that I’m guilty of tax evasion. And the—the hearing, you know,
 7           principally revolves around that.
 8
 9    PD:    So, the Justice Department believes you’re guilty of tax evasion and
10           the hearing is related to that?
11
12    RB:    That—that’s my understanding.
13
14    PD:    Have you heard of the issue of competence to stand trial?
15
16    RB:    Yes. But that is a—a smaller issue than the basic issue.
17
18    PD:    Is it possible that the hearing the week of November 15 is about
19           whether you are competent to stand trial?
20
21    RB:    It—it could very well be.
22
23    PD:    Do you know my name?
24
25    RB:    I believe it’s Dietz.
26
27    PD:    Yes, it is. And who is this?
28
29    RB:    I’m sorry, I don’t remember.
30
31    PD:    So, this is Dr. Denney. And do you know what we’re here to evaluate
32           you about?
33
34    RB:    You’re here to evaluate my competency to—to stand trial.
35
36    PD:    That’s right. And what would happen if the court determined that you
37           were competent to stand trial?
38
39    RB:    I would presume I’d go to trial.
40


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 1    PD:    And what would happen if the court determined that you were not
 2           competent to stand trial?
 3
 4    RB:    I’m less clear as to what would happen. Probably—my guess it would
 5           be—would be a long involved process.
 6
 7    PD:    Would you need to go anywhere?
 8
 9    RB:    I don’t know.
10
11    PD:    Well, I’m gonna let Dr. Denney begin to ask you questions and I’ll be
12           quiet for a while until I’m invited to speak again.
13
14    RB:    Okay. Do I have to take my mask off or leave it on or?
15
16    RD:    No, you’re good.
17
18    RB:    Okay.
19
20    RD:    Yeah, you’re good. Thank you. Let me—you know, I could just jump
21           into testing stuff.
22
23    PD:    If you like.
24
25    RD:    Because I don’t know how helpful doing more general questioning is
26           gonna be, and it’s 10:40. Is that alright?
27
28    PD:    Of course it is.
29
30    RD:    Okay. We’re gonna change gears a little bit, actually, and move into
31           doing some testing things. So, I need to talk to the comp—or the
32           recording people because that portion is not going to be recorded.
33           Okay? So, I’ll be right back.
34
35    RB:    As long as that obeys all the rules.
36
37    RD:    Right. Oh no, that’s—
38
39    RB:    Most—most of this I don’t understand.
40


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 1    RD:    Yeah, that’s—that’s what’s agreed upon. And we may have to readjust
 2           some things, so let’s just wait until they shut that off and get off the
 3           record, then we’ll talk about it—how we’re gonna do the layout.
 4
 5    [Break]
 6
 7    RD:    Okay, very good. Okay Mr. Brockman, we’re back onto the video and
 8           we just have one procedure to go through. It should go pretty quickly.
 9           Okay?
10
11    RB:    Well, depending upon how you define pretty quickly, yeah, it’s okay.
12
13    RD:    Okay. Alright. Yeah, yeah. Well, it’s a multiple choice questionnaire.
14           Okay. So, I’ll just read the instructions and we’ll charge ahead.
15           Alright. I—I would like to ask you some questions regarding your
16           indictment because your memory of the details of what is alleged in
17           the indictment pertaining to the charges against you are important. I
18           realize things have changed for you in such a way as to make your
19           memory a significant concern. I do not want you to tell me any
20           private information discussed between you and your lawyers. I am
21           not asking about that. All I am asking is questions about your
22           indictment. Okay? The document itself. I am not asking you to tell
23           me anything that’s not already in the public domain. Because your
24           memory for these events is a concern, I wanted to document just how
25           much memory loss you have—you have in regards to your indictment.
26           Okay? So, in—in what district court—and every question I’ve got has
27           got multiple choice for it. I’m gonna ask—I’m gonna read the question
28           and I’m gonna give you the ans—give you the options. Okay? I’d like
29           for you to choose an option to—to the best of your memory. And if
30           you don’t remember something, I appreciate that. Just make your
31           best guess. Okay? In what district court were you first indicted?
32           Eastern District of Texas or the Northern District of California?
33
34    RB:    I have no idea.
35
36    RD:    Okay. Best guess. Eastern District of Texas or Northern California?
37
38    RB:    I could only guess.
39
40    RD:    Sure.
41


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 1    RB:    I don’t think I—I should be guessing.
 2
 3    RD:    Well, that—that’s okay. Guessing is fine. Eastern District of Texas or
 4           you think the Northern District of California?
 5
 6    RB:    Eastern District of Texas.
 7
 8    RD:    Okay. In what division was—actually it was the Northern District of
 9           California, actually. In what division was the indictment first filed in
10           the Northern District of California? San Francisco Division or Oakland
11           Division?
12
13    RB:    I have no idea.
14
15    RD:    Best guess.
16
17    RB:    I’d say San Francisco.
18
19    RD:    Okay. That’s right. Over what tax years were you allegedly to have
20           evaded paying taxes, that is, tax evasion? 2000-2018 or 2006-2018?
21
22    RB:    Could you repeat that?
23
24    RD:    Sure. Over what tax years were you alleged to have evaded paying
25           taxes? 2000-2018 or 2006-2018?
26
27    RB:    My guess would be through 2018.
28
29    RD:    I’m sorry, I didn’t hear you.
30
31    RB:    My guess would be 2006-2018.
32
33    RD:    Okay. Okay.
34
35    RB:    I—I have no knowledge of the subject.
36
37    RD:    Yeah. No, that’s—and that’s fine. That’s why—I understand. I fully
38           understand that when you don’t remember you’re just guessing, and
39           that’s okay. Spanish Steps Holdings was originally formed on which
40           island? Bermuda or Nevis?
41


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 1    RB:    I have no idea.
 2
 3    RD:    Best guess.
 4
 5    RB:    I would say Bermuda.
 6
 7    RD:    Okay. Point Investments was originally incorporated in 1999 in which
 8           country? British Virgin Islands or Bermuda?
 9
10    RB:    I—I have no recollection of which one it is.
11
12    RD:    Sure. Just best guess.
13
14    RB:    Bermuda.
15
16    RD:    Alright. That’s right, good. Edge Capital Investments was created in
17           which country? Bermuda or Nevis?
18
19    RB:    I have no idea.
20
21    RD:    Best guess.
22
23    RB:    I’d say Bermuda.
24
25    RD:    Alright. Okay. The indictment alleges that Edge Capital was managed
26           by what? A parent company or a sole individual?
27
28    RB:    I have no idea of the correct answer on that one either.
29
30    RD:    Best guess.
31
32    RB:    I would say by an individual.
33
34    RD:    Alright. That’s right, good job. The indictment alleges that you
35           committed how much money to Vista’s first private equity fund? That
36           is, Vista Equity Fund II. 500 Million or 300 Million?
37
38    RB:    I have no recollection.
39
40    RD:    Best guess. 500 Million or 300 Million?
41


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 1    RB:    300.
 2
 3    RD:    Alright. That’s right, good. The indictment alleges this amount was
 4           later raised to which amount? 1 Billion or 1.7 Billion?
 5
 6    RB:    I have no idea.
 7
 8    RD:    Best guess. Yeah, I understand you don’t—you don’t—I—I understand
 9           you don’t have memory for the indictment very well. That’s why I’m
10           documenting this. You don’t need to say, “I don’t remember.” I mean
11           that—that’s okay if you do. So, the indictment alleges this amount
12           was later raised to which amount, 1 Billion or 1.7 Billion? Best guess.
13
14    RB:    I think 1 Billion.
15
16    RD:    Okay. That’s right, good job. The indictment alleges there were how
17           many limited partners in the Vista Equity Fund II? One or three?
18
19    RB:    I have no idea.
20
21    RD:    One or three?
22
23    RB:    Yeah, my best guess would be three.
24
25    RD:    Okay. The indictment alleges that you concealed from the IRS capital
26           gain income that you earned from investments you made in Vista
27           through which entity? Cabot Global Investment or Point Investments?
28
29    RB:    Neither of those.
30
31    RD:    Okay. Well, the indictment says one of them. Which one is it that the
32           indictment alleges, Cabot Global or Point Investments?
33
34    RB:    That’d be your guess, not mine.
35
36    RD:    Pardon me?
37
38    RB:    That—that would be your guess, not mine.
39
40    RD:    Well, that’s what I’m—I’m asking you, if you don’t remember to make
41           your best guess from what the indictment says.


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 1
 2    RB:    Could you give me the alternatives again?
 3
 4    RD:    Pardon me?
 5
 6    RB:    Could you give me the alternatives again?
 7
 8    RD:    Sure. Cabot Global Investment or Point Investment?
 9
10    RB:    Point.
11
12    RD:    Alright. That’s right. The indictment alleges you made how much in
13           capital gains through investments in Vista? 1.7 Billion or 2 Billion?
14
15    RB:    I have no idea.
16
17    RD:    Okay. I understand. The indictment alleges how much capital gains
18           through Vista, 1.7 or 2 Billion?
19
20    RB:    1.7.
21
22    RD:    Alrighty. Actually, they claim it was two. “They,” the indictment I
23           mean. The indictment alleges that you hid your involvement with the
24           Vista funds in what way? A, off—off the books transfer made by fund
25           managers, or creating a false paper trail covering up your relationship
26           with Point Investments? Which one is it that the indictment alleges?
27
28    RB:    I have—I have no idea, but my guess would be the one where it talks
29           about covering it up.
30
31    RD:    Oh, the false paper trail covering up?
32
33    RB:    Uh-huh.
34
35    RD:    Okay. That’s what the indictment says. The indictment alleges money
36           flowed to your control through offshore companies and trusts that
37           were what? Completely controlled by you or not controlled by you?
38
39    RB:    Not controlled by me.
40


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 1    RD:    Alrighty. Actually, the indictment says that—or claims that you
 2           controlled them. The indictment alleges you communicated through
 3           an e-mail system. What was this e-mail system? A proprietary
 4           encryption e-mail system you created or a system purchased off the
 5           shelf?
 6
 7    RB:    A system purchased off the shelf.
 8
 9    RD:    Okay. Actually, the indictment alleged that you created a proprietary
10           system. The indictment alleges you had what code name within this e-
11           mail system? For yourself, that is. Permit or King?
12
13    RB:    Permit.
14
15    RD:    Permit. That’s right. The indictment alleges that a code name used
16           for a manager you appointed was what? Bonefish or Bluefish?
17
18    RB:    Bonefish.
19
20    RD:    That’s right. The IRS had a code name, too, based on the allegations
21           in the indictment. What is that code name? The House or The Club?
22
23    RB:    The House.
24
25    RD:    That’s—that’s right. That’s what the indictment says. The indictment
26           alleges what problem related to Spanish Steps? Spanish Steps held
27           over 90% of preferred stock in UCSH, that is Universal Computer
28           Systems Holdings, or that you actually controlled Spanish Steps
29           through your control of St. John’s Trust Company, UCSH, and USC?
30
31    RB:    Okay. And the question is—is what?
32
33    RD:    I’m sorry? The indictment alleges what problems related to Spanish
34           Steps. What was the problem alleged in the indictment, which one of
35           these, that Spanish Steps held over 90% of preferred stock in UCSH,
36           or that you actually controlled Spanish Steps through your control of
37           these other entities?
38
39    RB:    I think it’s the first one.
40


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 1    RD:    The first one. Okay. The indictment alleges that you earned
 2           approximately how much money in capital gains through investments
 3           in Vista through Point Investment? 1 Billion or 2 Billion?
 4
 5    RB:    Well, here’s where the—there’s a very basic disagreement, which is—
 6
 7    RD:    Well, I’m just asking about what the indictment says. What does it—
 8           what does it allege regarding your earnings? Approximately how much
 9           money in capital gains through investments in Vista through Point, 1
10           Billion or 2 Billion?
11
12    RB:    One.
13
14    RD:    Okay. The indictment alleges you directed what funds to be wired
15           from Vista’s bank accounts in California—I’m sorry, I misread that.
16           The indictment alleges you directed that funds be wired from Vista’s
17           bank accounts in California to what country? Luxemburg or
18           Switzerland?
19
20    RB:    I have no idea.
21
22    RD:    Best guess.
23
24    RB:    Switzerland.
25
26    RD:    Alright. That’s—that’s what it said. The indictment alleges what
27           problem in the amount of taxes paid in capital gains from these
28           earnings? Was it that—that you—does the indictment allege that you
29           paid taxes on none of the capital gains or that you paid taxes on only
30           20% of the capital gains?
31
32    RB:    I have no idea what the answer is.
33
34    RD:    Best guess. Taxes on none of it or on 20% of it?
35
36    RB:    20%.
37
38    RD:    Alright. Actually, it alleges you paid taxes on none of it. Yeah. The
39           indictment alleges wrongdoing by you as a result of which of these
40           issues? One, that you did not report the accounts held under your


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 1           name within Luxemburg, or that you did not report your interest and
 2           ownership in foreign bank accounts?
 3
 4    RB:    I—again, I have no idea what the right answer is.
 5
 6    RD:    Well, best guess as—as to what the indictment says. You did not
 7           report accounts held under your name within Luxemburg or you did
 8           not report interest in ownerships in foreign banks accounts in general?
 9
10    RB:    The second one.
11
12    RD:    The second one. That’s right, that’s what it says. The indictment
13           alleges that in 2004 or that the 2004 distribution of approximately 635
14           Million of UCS’s retained earnings to Spanish Steps for the purpose of
15           transfer to Point Investments had a code name. What was that code
16           name? Dragster or Hotrod?
17
18    RB:    My guess would be Hotrod.
19
20    RD:    Okay. That’s what it said. The indictment alleged that you directed a
21           change in the name of the A. Eugene Brockman Children’s Trust after
22           reading this book. Offshore Affairs Tax Havens Decoded or Tax Haven
23           Abuses: The Enablers, The Tools and Secrecy?
24
25    RB:    I have no idea.
26
27    RD:    Okay. Which one does the indictment allege? Offshore Affairs Tax
28           Havens Decoded or Tax Haven Abuses?
29
30    RB:    Probably Offshore Affairs.
31
32    RD:    Offshore Affairs. Okay. Actually, it—it—it claimed Tax Haven Abuses.
33           The indictment alleged that one of the problems related to Spanish
34           Steps was what? That Spanish Steps investments were not monitored
35           sufficiently or Spanish Steps owned a majority of UCSH investment
36           shares, a Brockman owned company?
37
38    RB:    I don’t understand that one. Don’t have a clue. It’s a best guess type
39           kind of deal.
40
41    RD:    I’m sorry, I can’t hear you.


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 1
 2    RB:    Since I don’t understand what’s going on, it’s a best guess kind of—
 3           kind of—
 4
 5    RD:    Sure. Best guess, that’s fine. Which one? Spanish Steps investments
 6           not monitored sufficiently or Spanish Steps owned a majority of UCSH
 7           investment shares, a Brockman owned company?
 8
 9    RB:    That—the last one.
10
11    RD:    The second one? Okay. That’s right. That’s what the indictment says.
12           Related to USCH, the indictment alleged what problem? Directors of
13           SJTC controlled UCSH or that directors of SJTC were controlled by you?
14
15    RB:    I don’t have a clue which way that one goes.
16
17    RD:    Best guess.
18
19    RB:    Can you read them off again?
20
21    RD:    Sure. Related to USCH, the indictment alleged what problem?
22           Directors of SJTC controlled UCSH, or the directors of SJTC were
23           controlled by you?
24
25    RB:    I think it’s the last one.
26
27    RD:    Okay, that’s right. That’s what the indictment says. The indictment
28           alleged that you instructed a person referred to as Individual One to
29           purchase a computer software program for his computers that was
30           designed to wipe clean computer disks. Which program did the
31           indictment list? Blancco Drive Eraser or Evidence Eliminator?
32
33    RB:    Again, it’s just a guess.
34
35    RD:    Sure.
36
37    RB:    The guess would be Evidence Eliminator.
38
39    RD:    Evidence Eliminator. That’s what the indictment says. The indictment
40           alleged that you communicated through the encrypted e-mail
41           regarding backdating documents. What was the indictment alleging?


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 1           A, that you instructed a person referred to as Individual One that copy
 2           paper was encoded with a date, or you instructed a person referred to
 3           as Individual One that printer ink can be used to back trace date of
 4           documents?
 5
 6    RB:    I’d say it’s the second one.
 7
 8    RD:    Alrighty. Actually, the indictment says something about paper being
 9           dated. Which of these allegations is cited in the indictment? A, here
10           you told a person referred to as Individual One to limit calls made to
11           British Virgin Islands and Cayman Islands during regular business
12           hours, or two, you told a person referred to as Individual One to
13           eliminate direct calls to British Virgin Islands and Cayman Islands from
14           a landline or cellphone?
15
16    RB:    Again, I have no idea. But I—my guess would be it’s the last one.
17
18    RD:    Okay. Yeah, that’s what the indictment says. In regard to phone
19           accounts, the indictment alleges that you did what? Had a BVI
20           resident create a single Vonage account in order to keep the system
21           organized, or had a BVI resident establish multiple Vonage accounts?
22
23    RB:    I don’t—I don’t have any idea.
24
25    RD:    Best guess. BVI created a single Vonage account in order to keep it
26           organized, or a BVI resident to establish multiple Vonage accounts?
27
28    RB:    I think the single.
29
30    RD:    Single. Alrighty. Actually, the indictment said it was multiple. The
31           indictment alleges that you instructed an individual to purchase a
32           fishing lot for not more than how much money? $500,000 or
33           $400,000?
34
35    RB:    I don’t have a clue.
36
37    RD:    Okay. Best guess.
38
39    RB:    I think $400,000.
40


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 1    RD:    Alrighty. Actually, the indictment alleged $500,000. The fishing lot
 2           was to be purchased through what entity? Point or Henke Properties?
 3
 4    RB:    I think Henke Properties.
 5
 6    RD:    Okay. That’s right, that’s what it said. The indictment alleges that in
 7           2010 you directed a large sum of money obtained from VEF II sale of
 8           portfolio company as a distribution from Vista to Point into an account
 9           in which country? Lux or—sorry, Switzerland or Luxemburg?
10
11    RB:    I have no idea.
12
13    RD:    Best guess. Large sum of money from the portfolio company
14           distributed from Vista to Point into which country, Switzerland or
15           Luxemburg?
16
17    RB:    I’d say Switzerland.
18
19    RD:    Yeah. That’s what the indictment says, you’re right. That money was
20           allegedly deposited in which bank in Switzerland? UBS Switzerland or
21           Mirabaud Bank?
22
23    RB:    Yeah, not—I don’t know which one. My—my guess would be
24           Mirabaud.
25
26    RD:    That's what the indictment says. What was the approximate amount
27           allegedly deposited after the account was opened? 499 Million or 799
28           Million?
29
30    RB:    I have no idea.
31
32    RD:    Best guess.
33
34    RB:    400.
35
36    RD:    499?
37
38    RB:    Yeah, 499.
39
40    RD:    Okay. Actually, the indictment alleged 799. But that’s okay. The
41           indictment alleges what in regard to the Point account at Mirabaud


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 1           Bank? That A, you obtained a user identification password to directly
 2           access the account, or that you specifically did not have direct access
 3           to this account in order to hide your involvement?
 4
 5    RB:    Again, I have no idea. I have no idea.
 6
 7    RD:    Which do you think the indictment says in regard to Point account at
 8           Mirabaud Bank? You obtained a user ID password to directly access
 9           the account, or you specifically did not have direct access to this
10           account in order to hide your involvement. Which one do you think
11           the indictment said?
12
13    RB:    My guess is, and that’s that I—I did not have direct access.
14
15    RD:    Did not have. Okay. Actually, the indictment claims—or alleges that
16           you obtained a user ID. The indictment alleges that you corresponded
17           with the person referred to as Individual One regarding Point’s
18           purchase of Edge’s investment in VEF II. It alleged what? To
19           purchase Edge’s investment in VEF II and destroy records at Vista
20           reflecting the purchase, or to purchase Edge’s investment in VEF II for
21           500 Million? Which one was it that the indictment alleged?
22
23    RB:    I think 500 Million.
24
25    RD:    Alright. Actually, the indictment alleged the other one. The
26           indictment alleged that you instructed a person referred to as
27           Individual One to create which of these; a backdated memo from
28           himself to Bob or a fictitious conversation with a deceased former
29           nominee?
30
31    RB:    I—my guess would be the second one.
32
33    RD:    Okay. You are correct that that is what the indictment alleges. The
34           indictment alleged that you instructed the person referred to as
35           Individual One to attend a conference about what topic? Money
36           laundering or improving asset growth offshore?
37
38    RB:    I would think improving asset growth offshore.
39
40    RD:    Okay. Actually, the indictment says the other one. During that
41           conference related to money laundering, during that conference he


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 1           was instructed to do what? Attend under assumed—an assumed
 2           identity if possible, or to make no contact with Bob Brockman?
 3
 4    RB:    I have no—no idea which one.
 5
 6    RD:    Best guess.
 7
 8    RB:    I think it would be the one about no contact with Bob Brockman.
 9
10    RD:    Sure. Okay. On or about 2014 Individual One requested Brockman
11           purchase a house for his family if he were to be subjected to
12           proceedings. Where was the proposed location of that housed—
13           house? Australia or New Zealand?
14
15    RB:    I have no idea, but my guess would be New Zealand.
16
17    RD:    Alrighty. Actually, it was Australia. What was the city referenced in
18           regard to that house? Melbourne or Sydney?
19
20    RB:    Sydney.
21
22    RD:    That is right. That’s what the indictment says. The indictment alleged
23           that you agreed to provide Individual One with how much money for
24           that house? 5 Million or 3 Million?
25
26    RB:    I have no idea.
27
28    RD:    Best guess. 5 Million or 3 Million for the house in Australia? Again,
29           what the indictment alleges.
30
31    RB:    My guess is five.
32
33    RD:    Alright. The indictment alleges that in 2016 you transferred
34           $41,545,359.00 in a series of transactions from San Francisco to
35           another country to hide the proceeds of bank fraud and wire fraud.
36           The indictment alleges what country was that? Cayman Islands or
37           Switzerland?
38
39    RB:    I have no—no recollection, but my guess would be Switzerland.
40


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 1    RD:    That is correct. The indictment alleges that in 2016 you learned that a
 2           widow of a former nominee was in possession of materials which could
 3           be harmful to your legal position and that you A, made several trips
 4           for the purpose of destroying documents and electronic media and did
 5           so using shredders, hammers and other means, or B, persuaded
 6           someone else to travel to the United States for the purpose of
 7           destroying documents and electronic media with shredders, hammers
 8           and other things? Which one is it that the indict—indictment alleges?
 9
10    RB:    I would think the first one.
11
12    RD:    Okay. Actually, it’s claiming the other. The indictment alleges that in
13           2016 you learned that a widow of a former nominee was in possession
14           of—oh, that’s a copy, isn’t it? No, not quite. Pretty close, but it’s not.
15           And the indictment alleges that in 2016 you learned of a widow of a
16           former nominee was in possession of materials which could be harmful
17           to your legal position and that you caused someone else to transfer
18           documents and electronic media from the widow to yourself, or to you,
19           or persuaded the widow to give you documents and electronic media?
20
21    RB:    I have no idea which one.
22
23    RD:    Okay. Got that marked down. “I have no idea.” Best guess?
24
25    RB:    Can you give me the—can you give me the various choices?
26
27    RD:    Options? Sure. Okay. Caused someone else to transfer documents
28           and el—and electronic media from the widow to you, or persuaded the
29           widow to give you documents and electronic media?
30
31    RB:    I’d say the second one.
32
33    RD:    Okay. The indictment alleges that you altered, destroyed, or mutilated
34           documents and computer evidence with the intent to do what? A,
35           impair their integrity and availability for use in an audit by the IRS, or
36           impair their integrity and availability for use in federal grand jury
37           investigation?
38
39    RB:    I have no idea.
40
41    RD:    Best guess.


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 1
 2    RB:    First one.
 3
 4    RD:    Okay. The indictment says that upon conviction of any of the offenses
 5           in counts 15 to 24 you shall forfeit how much money to the United
 6           States? Approximately $135,670,258 or approximately $67,835,129?
 7
 8    RB:    Same thing, just two different numbers.
 9
10    RD:    Well, that’s true. Which number is—is from the indictment?
11
12    RB:    My guess it’s the larger one.
13
14    RD:    Okay. The indictment says that upon conviction of any of the offenses
15           in counts 35 to 37 you shall forfeit how much money to the United
16           States? Approximately $23,843,093, or approximately $47,686,187?
17
18    RB:    I’d say the second one.
19
20    RD:    Second one. That’s right. Okay. That’s what it says. The indictment
21           alleges that you prepared and caused to be prepared and signed and
22           caused to be signed false and fraudulent United States individual
23           income tax returns for which calendar years? 2012-2018 or 2015-
24           2018?
25
26    RB:    Again, I don’t have any idea so I’d guess the—the 2015.
27
28    RD:    Alrighty. Last question. The indictment alleges that you failed to file
29           FBAR documents, right, concerning your financial interests in accounts
30           at Mirabaud Bank in Switzerland and Bermuda Commercial Bank in
31           Bermuda in the name of Edge, Cabot, and Point for which years?
32           2013-2016 or 2011-2014?
33
34    RB:    Again, I have no idea so I—I guess the 2011 one.
35
36    RD:    Alrighty.
37
38    PD:    What was that answer?
39
40    RD:    B. 2011, the one he said. Did we skip any?
41


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 1    PD:    Nope.
 2
 3    RD:    Very good. I—I did have just a couple more questions on the other
 4           little test if you want to finish that.
 5
 6    RB:    No.
 7
 8    RD:    No? Alright. Do you have anything that you need to say?
 9
10    PD:    There were a couple things I wanted to—to ask you as we finish up.
11           Do you recall who we are?
12
13    RB:    Yeah, but I don’t think I can say the name. I think that it’s—it’s
14           research firm.
15
16    PD:    You think what?
17
18    RB:    A research firm out—out in San Francisco.
19
20    PD:    A research firm out of San Francisco?
21
22    RB:    Yeah, where you—you do contract projects such as the one you’re on
23           right now.
24
25    PD:    Why do you think we were here talking to you today?
26
27    RB:    I think that you’re representing your client and asking questions.
28
29    PD:    Who is our client?
30
31    RB:    I believe ultimately, it’s—it is—it’s name originally was ADP, Automatic
32           Data Processing. It’s—and now it goes by a different name.
33
34    PD:    Do you think we work for the competition?
35
36    RB:    The competition of Reynolds and Reynolds? Yes.
37
38    PD:    I’m not sure I’m hearing you correctly.
39
40    RB:    If you say competition, meaning competition to Reynolds and
41           Reynolds, I believe that to be the case.


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 1
 2    PD:    Do you know what today’s date is? Do you know today’s date?
 3
 4    RB:    I think it’s the 12th.
 5
 6    PD:    The 12th of what?
 7
 8    RB:    December.
 9
10    PD:    December?
11
12    RB:    Uh-huh.
13
14    PD:    What year?
15
16    RB:    This year, 2051.
17
18    PD:    20 what?
19
20    RB:    2051.
21
22    PD:    2059?
23
24    RD:    2051.
25
26    PD:    2051.
27
28    RD:    Did you say 2051?
29
30    RB:    Uh-huh.
31
32    PD:    And do you know who the President of the United States is?
33
34    RB:    Yes. His name is Joe Biden.
35
36    PD:    Are you able to spell the word “world” backwards?
37
38    RB:    D-L-R-O-W.
39
40    PD:    And can you subtract 3’s from 20?
41


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 1    RB:    Yes.
 2
 3    PD:    Would you do that out loud please, starting with 20?
 4
 5    RB:    I’m afraid I don’t understand.
 6
 7    PD:    Start with the number 20.
 8
 9    RB:    Okay.
10
11    PD:    And then subtract three at a time.
12
13    RB:    Okay.
14
15    PD:    So, what’s the first answer?
16
17    RB:    27.
18
19    PD:    20 minus 3 equals 27? Is that what you said?
20
21    RB:    I’m—I’m afraid it’s late in the day and—
22
23    PD:    It is late.
24
25    RD:    It is. If you were to start at 20 and then you subtract three, what
26           would you get?
27
28    RB:    27. Again, it’s late in the day.
29
30    PD:    Do you know who the governor of Texas is?
31
32    RB:    His name is Jeff. I’m afraid I’m drawing a blank on that one. Good
33           guy though.
34
35    PD:    Are you aware of publicity that occurred in Colorado last week about
36           the IRS civil action against you?
37
38    RB:    No.
39
40    PD:    Do you know whether the IRS has any liens against your properties?
41


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 1    RB:    I believe they do.
 2
 3    PD:    Do you know for approximately how much the liens are in Colorado?
 4
 5    RB:    No, I don’t.
 6
 7    PD:    Would it be more than 100 Million or less than 100 Million?
 8
 9    RB:    I don’t know what the number would be. It certainly has been moved
10           around—moving around a lot. You know, because of liens.
11
12    PD:    Could there be an IRS lien against you in Colorado for 1.7 Billion
13           dollars?
14
15    RB:    I really don’t think so. There—there’s a number and it’s a big number,
16           but not that big.
17
18    PD:    It’s a very big number, isn’t it?
19
20    RB:    Uh-huh.
21
22    PD:    That number. And if you were to be found incompetent, what do you
23           think happens next?
24
25    RB:    I think nothing.
26
27    PD:    What’s that?
28
29    RB:    Well, my—I don’t know, but my impression is nothing.
30
31    PD:    Nothing. Do you have any additional questions?
32
33    RD:    No. I just wish we could finish that—
34
35    RB:    I’m sorry.
36
37    RD:    That’s okay. It is what it is.
38
39    RB:    It’s a quarter until 5:00.
40


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 1    RD:    Yeah, I don’t think it would take more than 15 minutes if—if we would
 2           go through it smoothly, but—
 3
 4    RB:    Yeah. My mind’s a little tired.
 5
 6    RD:    Okay. So be it. I don’t have any other questions.
 7
 8    PD:    Alright. We will stop for the day then.
 9
10    RB:    Okay. Thank you.
11
12    RD:    Thank you.
13
14    PD:    Thank you. Thanks for continuing.
15
16    RD:    I shall go.
17
18    RB:    Dr. Dietz, it’s a pleasure to talk to you today and I’m—I’m glad that
19           the last half of the day looks more pleasant than the last time we had.
20           It was not pleasant.
21
22    PD:    Yes, I know that wasn’t pleasant and I’m sorry it’s so. That often
23           happens.
24
25    RD:    So, you’re good?
26
27    RB:    Yeah.
28
29    RD:    Alright.
30
31    RB:    No. Yeah. No.
32
33    PD:    Nice to see you Mr. Brockman.
34
35    RB:    No. I—I don’t think so.
36
37    RD:    Okay, yeah.
38
39    RB:    It’s gotta be yours.
40
41    RD:    It looks exactly like mine, but—


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 1
 2    RB:    But thank—thank you.
 3
 4    RD:    I wasn’t gonna take your pen from you.
 5
 6    RB:    I don’t know when I’ll see you again, but I’m sure I will.
 7
 8    PD:    Perhaps.
 9
10    RD:    Possibly. Wish you the best, man. Thank you.
11
12    M:     Let me get your microphone off.




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